           Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 1 of 58 Page ID #:1495



                       1   Suzelle M. Smith, Bar No. 113992
                           SSmith@howarth-smith.com
                       2   Don Howarth, Bar No. 53783
                           DHowarth@howarth-smith.com
                       3   Padraic Glaspy, Bar No. 259563
                           PGlaspy@howarth-smith.com
                       4   Jessica C. Walsh, Bar No. 276543
                           JWalsh@howarth-smith.com
                       5   HOWARTH & SMITH
                           523 West Sixth Street, Suite 728
                       6   Los Angeles, CA 90014
                           Telephone: 213.955.9400
                       7   Facsimile: 213.622.0791
                      8 Stephen Tuggy, Bar No. 120416
                        STuggy@lockelord.com
                      9 Ira Greenberg (Admitted pro hac vice)
                        Ira.Greenberg@lockelord.com
                     10 LOCKE LORD LLP
                        300 S. Grand Avenue, Suite 2600
                     11 Los Angeles, CA 90071
                        Telephone: 213.485.1500
                     12 Facsimile: 213.485.1200
                     13 Attorneys for Plaintiffs Shuxin
                        Li, Haiyuan Zhao, Yu Hu, and
                     14 Hongyan Liu
                     15
                                              UNITED STATES DISTRICT COURT
                     16
                                             CENTRAL DISTRICT OF CALIFORNIA
                     17
                     18 SHUXIN LI, HAIYUAN ZHAO, YU             Consolidated Cases No. 2:13-cv-08832
                        HU, and HONGYAN LIU,
                     19
                                     Plaintiffs,                SECOND AMENDED COMPLAINT
                     20                                         AND DEMAND FOR JURY TRIAL
                                  v.
                     21
                        EFT HOLDINGS, INC., a Nevada            Action Filed: November 27, 2013
                     22 Corporation, BUCKMAN, BUCKMAN           Trial Date:   October 20, 2015
                        & REID, INC., a New Jersey
                     23 Corporation, GREENSTONE
                        HOLDINGS, INC., a New York
                     24 Corporation, BROWN DOOR, INC., a
                        Delaware Corporation, PIERSTONE
                     25 GROUP, LLC, a New York Limited
                        Liability Company, REGAL WALNUT
                     26 ________________________________
                        CAPTION CONTINUED ON NEXT
                     27 PAGE
                     28
HO W A R T H & SM I T H
  A TT ORNEYS AT LAW                                                    SECOND AMENDED COMPLAINT AND
     LOS A NGELE S                                                              DEMAND FOR JURY TRIAL
           Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 2 of 58 Page ID #:1496



                       1   LLC, a California Limited Liability
                           Company, and JACK J. QIN, VISMAN
                       2   CHOW, NORMAN KO, WILLIAM
                           SLUSS, PYNG SOON, GEORGE
                       3   CURRY, JOHN HUEMOELLER II,
                           WALLACE GAIKAS, and PETER
                       4   LAU, individuals,
                       5             Defendants.
                       6
                       7   ///
                       8   ///
                       9   ///
                     10    ///
                     11    ///
                     12    ///
                     13    ///
                     14    ///
                     15    ///
                     16    ///
                     17    ///
                     18    ///
                     19    ///
                     20    ///
                     21    ///
                     22    ///
                     23    ///
                     24    ///
                     25    ///
                     26    ///
                     27    ///
                     28    ///
HO W A RT H & S M I T H
                                                                       SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                 -2-           DEMAND FOR JURY TRIAL
           Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 3 of 58 Page ID #:1497



                       1         Plaintiffs, by their attorneys, make the following allegations pursuant to the
                       2   investigation of their counsel and based upon information and belief, except as to
                       3   allegations specifically pertaining to themselves and their counsel, which are based
                       4   upon personal knowledge.
                       5                              NATURE OF THE ACTION
                       6         1.      Defendants pilfered millions from Plaintiffs and other similarly
                       7   situated through an endless chain investment scam—a scheme that succeeded for
                       8   many years.
                       9         2.      Defendants pushed this scam on a vulnerable class of Chinese
                     10    consumers. Defendants specifically targeted these consumers because of their
                     11    relative lack of sophistication concerning U.S. laws and because, by operating
                     12    abroad, Defendants hoped to avoid U.S. scrutiny.
                     13          3.      Defendants sold spots in the endless chain through product purchases:
                     14    the more products purchased, the better the spot.
                     15          4.      Defendants further devised a “stock” ownership system through which
                     16    consumers could unlock rights to purchase “shares” by purchasing extra product.
                     17    By subsequently manipulating quoted stock prices, Defendants were able to
                     18    manufacture demand for their shares, which in turn induced consumers to buy
                     19    more products and commit more money to the endless chain.
                     20          5.      Defendants promised participants that they could earn substantial
                     21    returns through retail product sales, recruiting new participants into the chain, and
                     22    owning part of the business. In actuality, the products were defective, the chain
                     23    structure was illegal, and the alleged ownership was illusory.
                     24          6.      Consequently, Plaintiffs seek relief in this action under California’s
                     25    Endless Chain Scheme Law (California’s Penal Code § 327 and California Civil
                     26    Code § 1689.2), California’s Deception Statute (Civil Code §§ 1709-10 and
                     27    California Penal Code §§ 487, 12022, 186.11), the common law, and the Racketeer
                     28    Influenced and Corrupt Organizations Act (18 U.S.C. § 1961 et seq.).
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    -3-                 DEMAND FOR JURY TRIAL
           Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 4 of 58 Page ID #:1498



                       1                                    THE PARTIES
                       2         7.     Plaintiffs Shuxin Li, Haiyuan Zhao, Yu Hu, and Hongyan Liu are
                       3   citizens of the People’s Republic of China.
                       4         8.     Defendant EFT Holdings, Inc. (“EFT”) is an e-Commerce, publicly
                       5   traded Nevada corporation with its principal place of business at 17800 Castleton
                       6   Street, Suite 300, City of Industry, California 91748. According to its website,
                       7   http://www.eftb.us, EFT, through its subsidiaries, engages in the merchandising
                       8   and sale of EFT-brand products over the internet. EFT claims to operate through
                       9   over one million registered “affiliate members” located throughout Hong Kong, the
                     10    People’s Republic of China, Asia, and Europe. EFT claims all its products, which
                     11    include bio-available nutritional and nutritional spray products, are manufactured
                     12    in the United States and sold to consumers around the world, including China.
                     13          9.     Defendant Jack Qin (“Qin”) is a citizen of California who founded
                     14    EFT in 1998 and, since its inception, has served as the company’s Chief Executive
                     15    Officer, President, and Chairman of the Board.
                     16          10.    Defendant Visman Chow (“Chow”) is a citizen of California and has
                     17    been a member of EFT’s Board of Directors since at least July 2009.
                     18          11.    Defendant Norman Ko (“Ko”) is a citizen of California and has been a
                     19    member of EFT’s Board of Directors since at least July 2009.
                     20          12.    Defendant William Sluss (“Sluss”) is a citizen of California and is
                     21    EFT’s principal financial and accounting officer.
                     22          13.    Defendant Pyng Soon (“Soon”) is a citizen of California and has been
                     23    a member of EFT’s Board of Directors since at least July 2009.
                     24          14.    Defendant George Curry (“Curry” and together with Chow, Ko, Soon,
                     25    and Sluss, the “EFT Officers and Directors”) is a citizen of California and has
                     26    previously served as a member of EFT’s Board of Directors.
                     27          15.    Defendant Buckman, Buckman, and Reid, Inc. (“Buckman”) is a New
                     28    Jersey corporation with its principal place of business at 174 Patterson Avenue,
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   -4-                 DEMAND FOR JURY TRIAL
           Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 5 of 58 Page ID #:1499



                       1   Shrewsbury, NJ 07702. Buckman is a broker/dealer registered with the SEC and
                       2   with FINRA. It is licensed to do business in the state of California.
                       3         16.       Defendant Greenstone Holdings, Inc. (“Greenstone”) is a New York
                       4   corporation with its principal place of business in New York. It does business in
                       5   California, is closely affiliated with Buckman, and is managed and controlled by
                       6   Buckman managing directors Wallace Gaikas and Peter Lau.
                       7         17.       Defendant Wallace Gaikas (“Gaikas”) is a managing director of
                       8   Buckman and of Greenstone. He also owns and operates Brown Door, Inc.
                       9   (“Brown Door”), a shell company, with his wife. Gaikas conducts business within
                     10    the state of California.
                     11          18.       Defendant Brown Door is a Delaware corporation with its principal
                     12    place of business at a residence in New Jersey. It is owned and operated by Gaikas
                     13    and his wife.
                     14          19.       Defendant Peter Lau (“Lau”) is a managing director of Buckman and
                     15    of Greenstone. He also owns and operates Pierstone Group, LLC (“Pierstone”), a
                     16    shell company. Lau conducts business within the state of California.
                     17          20.       Defendant Pierstone is a New York Limited Liability Company with
                     18    its principal place of business located at 40 Park Avenue, #19B, New York, NY
                     19    10016. It is owned and operated by Lau.
                     20          21.       Defendant Huemoeller is a Buckman employee and a consultant for
                     21    Greenstone. He also was the owner and CEO of HumWare Media Corporation,
                     22    Inc. (“HumWare”), a Nevada shell corporation listed on the Pink Sheets that was
                     23    used as the vehicle for EFT’s reverse merger onto the OTC Bulletin Board.
                     24    Huemoeller conducts business within the state of California.
                     25          22.       Defendant Regal Walnut LLC (“Regal Walnut” and together with
                     26    Brown Door and Pierstone, the “Shell Companies”) is a California Limited
                     27    Liability Company owned and operated by Qin. It is a shell entity as well as a
                     28    ///
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    -5-                DEMAND FOR JURY TRIAL
           Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 6 of 58 Page ID #:1500



                       1   million-dollar residence located at 1168 Regal Canyon Drive, Walnut, California
                       2   91789.
                       3                             JURISDICTION AND VENUE
                       4         23.    Defendants EFT, Qin, and the EFT Officers and Directors (Chow, Ko,
                       5   Sluss, and Curry) are subject to the jurisdiction of this Court. They have engaged
                       6   in continuous and systematic business in California. EFT accepted payment solely
                       7   in US dollars for payment in the United States, sold products in the United States,
                       8   including California, and shipped products from the United States, including
                       9   California. EFT has its principal place of business in California and EFT, Qin, and
                     10    the EFT Officers and Directors have committed tortious acts in this State.
                     11          24.    Defendant Buckman is subject to the jurisdiction of this Court. It has
                     12    engaged in continuous and systematic business in California and is registered and
                     13    licensed with California as an active brokerage firm.
                     14          25.    Defendants Huemoeller, Gaikas, and Lau are subject to the
                     15    jurisdiction of this Court. They have regularly engaged in business in California
                     16    and were active parties to several of the tortious California transactions and
                     17    schemes alleged herein.
                     18          26.    Defendant Greenstone is subject to the jurisdiction of this Court. It has
                     19    conducted business in California and was an active party to several of the tortious
                     20    California transactions and schemes alleged herein.
                     21          27.    Defendant Regal Walnut is a California Limited Liability Company
                     22    that is subject to the jurisdiction of this Court. It has engaged in continuous and
                     23    systematic business in California. It has its principal place of business in this this
                     24    State and was an active party to several of the tortious California transactions and
                     25    schemes alleged herein.
                     26          28.    Defendants Brown Door and Pierstone are subject to the jurisdiction
                     27    of this Court as parties to several of the tortious California transactions and
                     28    schemes alleged herein.
HO W A RT H & S M I T H
                                                                                 SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    -6-                  DEMAND FOR JURY TRIAL
           Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 7 of 58 Page ID #:1501



                       1         29.    This Court has subject matter jurisdiction over this action pursuant to
                       2   28 U.S.C. § 1332(a)(2) because the amount in controversy exceeds the sum or
                       3   value of $75,000, exclusive of interest and costs, and is between citizens of a State
                       4   and citizens or subjects of a foreign state.
                       5         30.    Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this
                       6   action because a substantial part of the events, omissions, and acts giving rise to
                       7   the claims occurred in this District. Defendant EFT’s principal place of business is
                       8   located within this District and the endless chain, including the marketing,
                       9   advertising, and sales plans for EFT products, which are at the core of Defendants’
                     10    unlawful scheme, were devised in this District.
                     11                          FACTS COMMON TO ALL CLAIMS
                     12    A.    Endless Chain Scheme
                     13          31.    EFT operates a multi-level distribution system which relies on
                     14    individual affiliates to market, promote, and sell its products. EFT claims to
                     15    operate through over one million registered affiliate members, many of whom, like
                     16    Plaintiffs, are located in China. EFT only sells products to affiliates. Anyone can
                     17    become an affiliate by being sponsored by an existing affiliate and making an
                     18    initial purchase. EFT affiliates purchase EFT products, including health care, anti-
                     19    aging, skin care, and natural cosmetics products via the internet.
                     20          32.    As in other illegal endless chain schemes, the focus of the EFT
                     21    Endless Chain Scheme is in promoting the program rather than selling the
                     22    products. Qin has advertised EFT as “the first step to unlocking a cash explosion
                     23    that could help make your financial dreams come true. Ordinary people, who have
                     24    tried everything before to become successful and failed, are now using our
                     25    breakthrough fast cash system to go from past financial failure toward financial
                     26    freedom within a very short period of time” by using what is “without a doubt the
                     27    fastest, easiest, most sure-fire and lucrative way for the average person to create
                     28    instant financial success.” “Jack [Qin] also shows us how to create wealth through
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    -7-                DEMAND FOR JURY TRIAL
           Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 8 of 58 Page ID #:1502



                       1   the wonderful world of network marketing by giving us lots of worthwhile tips,
                       2   hints, and advice which will benefit anyone wanting to succeed in the same field
                       3   that has generated roughly 6 out of 10 millionaires in the last 15 years.” Qin, EFT,
                       4   and other EFT officers, directors, and employees also posted statements on the
                       5   EFT website claiming that the EFT system is a “powerful program [that] can help
                       6   everybody; even people new to the industry make a high income” and that EFT has
                       7   “one of the highest affiliate payouts in the industry.” Part of the EFT sales pitch
                       8   relies upon the credibility of the U.S. markets, on which EFT trades and from
                       9   which EFT purports to operate.
                     10          33.    To join the “no-risk EFT team,” Plaintiffs had to make an initial
                     11    investment purchase of EFT products in exchange for the right to recruit other
                     12    affiliates and earn various rewards. The rewards are structured to incentivize
                     13    recruitment over product sales and are tied to each affiliate’s initial investment
                     14    amount and subsequent recruiting successes.
                     15          34.    There are four levels of affiliates, which are determined by the initial
                     16    investment amounts: (1) Beginning Consumers, who make one purchase order of
                     17    $450.00 (which includes $400 worth of products + $50 shipping and handling); (2)
                     18    Standard Consumers, who make one purchase order of $660.00 ($600 worth of
                     19    products + $60 shipping and handling); (3) Advisory Consumers, who make one
                     20    purchase order of $990.00 ($900 worth of products + $90 shipping and handling);
                     21    and (4) Franchised Consumers, who make one purchase order of $3300.00 (which
                     22    includes $3000 worth of products + $300 shipping and handling).
                     23          35.    Recruitment rewards are unrelated to the sales of products to ultimate
                     24    users but rather are tied to the initial investment amounts of the sponsor and the
                     25    recruit. For example, EFT’s “Instant Bonus” for sponsors is calculated as follows:
                     26         Instant Bonus:
                     27                 a. Beginner Consumers: Regardless of the sponsor entry level,
                                        they can only receive $50 USD instant bonus.
                     28
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    -8-                 DEMAND FOR JURY TRIAL
           Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 9 of 58 Page ID #:1503



                       1                b. Standard Consumers: Receive $50 USD instant bonus by
                                        sponsor beginner level consumer; Receive $150 USD instant
                       2                bonus by sponsor standard level consumer; Receive $150 USD
                                        instant bonus by sponsor advisory level consumer; Receive $150
                       3                USD instant bonus by sponsor franchised level consumer.
                       4                c. Advisory Consumers: Receive $50 USD instant bonus by
                                        sponsor beginner level consumer; Receive $150 USD instant
                       5                bonus by sponsor standard level consumer; Receive $350 USD
                                        instant bonus by sponsor advisory level consumer; Receive $350
                       6                USD instant bonus by sponsor franchise level consumer.
                       7                d. Franchised Consumers: Receive $50 USD instant bonus by
                                        sponsor beginner level consumer; Receive $150 USD instant
                       8                bonus by sponsor standard level consumer; Receive $350 USD
                                        instant bonus by sponsor advisory level consumer; Receive
                       9                $1350 USD instant bonus by sponsor franchised level consumer.
                     10          36.    Furthermore, EFT continually pressures affiliates to invest at higher
                     11    levels and to continue recruiting into the endless chain. For example, in 2010 EFT
                     12    implemented an endless-chain-within-an-endless-chain scheme exclusively for its
                     13    $3,000-level affiliates:
                     14                 Starting from December 2010, the Company introduced reward
                                        programs to its Affiliates. For example, upon joining a $3,000
                     15                 program, each Affiliate must pay $3,000 as a non-refundable
                                        deposit. When the Affiliate sponsors one new Affiliate, the
                     16                 Company will reward the first Affiliate with a $1,500 instant
                                        sponsor bonus. When the first Affiliate sponsors at least two
                     17                 new Affiliates, and those two new Affiliates each also sponsor
                                        two new Affiliates, the first Affiliate will have completed the
                     18                 first cycle of the program. The Company will then reward the
                                        first Affiliate with an additional $1,500 bonus and deliver an
                     19                 EFT-phone and an e-pad for the cost of $1.
                                        After the completion of the first cycle, each Affiliate will enter
                     20                 into the matrix of the second cycle. Upon completion of the
                                        second cycle, the Company will reward the first Affiliate with
                     21                 $3,000. For each subsequent cycle thereafter within the matrix,
                                        each Affiliate will need to sponsor a new Affiliate in each cycle
                     22                 in order to qualify for the reward.
                     23          37.    In order to purchase EFT products, consumers are directed to fax a
                     24    form to a U.S. fax number and directed to remit the purchase price in U.S. dollars,
                     25    which is the only currency that EFT accepts. Consumer orders are processed by
                     26    EFT’s offices in the City of Industry, California, and products are shipped to
                     27    consumers from the United States.
                     28    ///
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   -9-                 DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 10 of 58 Page ID #:1504



                       1         38.   Included in the products EFT sells are the following dietary
                       2   supplements:
                       3         (A)   “Collodial Silver #2003” which EFT advertises as a “natural
                                       shield and antibiotic” whereby “[a]ll fungus, virus, bacterium,
                       4               streptococcus, staphylococcus, and other pathogenic organisms
                                       are killed in three or four minutes” and “in fact, there is no
                       5               microbe know that is not killed by #2003 in six minutes or less”
                                       and “[t]here are also no side effects whatsoever from higher
                       6               concentrations.” “It would appear highly unlikely that even
                                       germ warfare agents could survive an encounter with #2003,
                       7               since viruses like E Bola and Hanta, or even the dreaded ‘flesh-
                                       eating bacteria’ are, in the end, merely hapless viruses and
                       8               bacteria. To top it off, #2003 is virtually non-toxic, making it
                                       safe for both children and adults, as well as pets . . . Nor does
                       9               one have to worry about the FDA (Food and Drug
                                       Administration) fox being put in charge of this home remedy
                     10                hen house. #2003 is a pre-1938 healing modality, making it
                                       exempt from the FDA jurisdiction under the grandfather
                     11                clause”;
                     12          (B)   “Super Re-vitl-izer #3002” which EFT advertises as an all-
                                       natural nutritional supplement that “[h]elps restore drinking-
                     13                impaired motor facilities, - in minutes! (which is reflected also
                                       in a Breathalyzer test)”;
                     14
                                 (C)   “PerformPlus #3006 Performance, Endurance, & Libido
                     15                Support” which EFT markets on its website as “I Can’t Believe
                                       It’s Not Viagra” and professes is “proven to be powerful
                     16                endurance, performance, and libido enhancing stimulants for
                                       thousands of men and women – some for thousands of years.
                     17                These pharmacologically standardized extracts are all from
                                       natural sources and manufactured in full compliance with US
                     18                FDA regulations”;
                     19          (D)   “Zeolite Plus #2005” which EFT advertises as an all-natural
                                       nutritional supplement that “[c]onverts in-organic metals (toxic)
                     20                into organic (absorbable) minerals” and “[i]mproves every
                                       biochemical process your body requires”;
                     21
                                 (E)   “Celprotect I #2006” which EFT advertises as a “[b]road
                     22                spectrum anti-viral” that “[i]mproves every biochemical process
                                       your body requires,” “[e]nhances cellular memory transfer,”
                     23                and “[d]rives out toxins and heavy metals”;
                     24          (F)   “Celprotect II #2007” which EFT claims “[c]an eliminate foot
                                       poisoning within minutes” and “[h]as the ability to detoxify
                     25                herbicides, pesticides, and other poisons”;
                     26          (G)   “MSM + Ionics #3003” which EFT advertises as an all-natural
                                       nutritional supplement that “benefits the body overall while
                     27                relieving and rebuilding connective tissue and joints”; and
                     28    ///
HO W A RT H & S M I T H
                                                                             SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                 - 10 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 11 of 58 Page ID #:1505



                       1         (H)      “Slim’n Easy #3005 Carbohydrate Craving Control (with 5-
                                          HTP)” which EFT advertises as “The Appetite Suppressant in a
                       2                  Spray.”
                       3         39.      EFT’s products did not have the composition, attributes,
                       4   characteristics, nutritional value, health qualities, or value represented. In August
                       5   2009, the U.S. Food and Drug Administration (“FDA”) issued a Warning Letter to
                       6   Qin and EFT setting forth numerous violations of the Federal Food, Drug, and
                       7   Cosmetic Act for several EFT products, including Collodial Silver #2003,
                       8   Celprotect I #2006, Celprotect II # 2007, MSM + Ionics #3003, and PerformPlus
                       9   #3006.
                     10          40.      As EFT products were generally mislabeled or adulterated, they were
                     11    difficult to resell at the price paid by affiliates, much less at a profit. Furthermore,
                     12    according to the FDA’s Warning Letter, EFT’s “products are all misbranded within
                     13    the meaning of section 502(f)(1) of the Act [21 U.S.C. § 355(a)] in that the
                     14    labeling for these drugs fails to bear adequate directions for use.” As such,
                     15    affiliates could not even legally market their inventories of EFT products within
                     16    the United States unless they relabeled such products to comply with FDA
                     17    regulations. The complications and expense required for such relabeling makes
                     18    legal product resale within the United States a practical impossibility, which
                     19    explains in part the focus on selling abroad.
                     20          41.      In addition to being defective, EFT products were overpriced.
                     21    Because EFT sends such a large percentage of every dollar it receives to reward
                     22    recruiting into the chain—according to its website, up to 70%—EFT set its product
                     23    pricing at an inflated level well over what EFT products would sell for in the open
                     24    marketplace.
                     25          42.      In addition to these inflated product prices, EFT charged excessive
                     26    shipping and handling fees and other service fees so it could increase profit
                     27    margins without directly inflating product prices even further. From the affiliates’
                     28    perspectives, however, the effects of these fees were the same, such that the total
HO W A RT H & S M I T H
                                                                                 SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 11 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 12 of 58 Page ID #:1506



                       1   out-of-pocket amounts affiliates paid for EFT products further exceeded what EFT
                       2   products could reasonably sell for in the open marketplace.
                       3             43.   Moreover, the shipping and handling charges levied by EFT grossly
                       4   exceeded EFT’s actual shipping and handling costs, thereby further denying
                       5   affiliates the possibility of being able to resell EFT products for profit. For
                       6   example, EFT lists its 2013 shipping costs as totaling only $9,000 yet lists its
                       7   shipping charges to affiliates as totaling $449,000, representing a markup to
                       8   affiliates of nearly 5,000%.
                       9             44.   In addition to inflated product prices and inflated shipping and
                     10    handling charges, EFT charges an additional service fee of $40 for each order
                     11    placed. This service charge is separate from EFT’s shipping and handling charges
                     12    and serves to deny affiliates the possibility of being able to resell EFT products for
                     13    profit.
                     14              45.   EFT further defeats any opportunity for affiliates to resell products by
                     15    flooding the market in a manner, as disclosed in a recent 10K filing, that evidences
                     16    just how little chance its affiliates have to make any profit by retail sales: “The
                     17    Company has been selling some of its overstocked items and items nearing
                     18    obsolescence at significantly reduced prices to a third party in an ongoing effort to
                     19    maintain acceptable inventory levels.”
                     20              46.   Because of the inflated prices, inflated shipping and handling charges,
                     21    inflated service fees, and market flooding, the prices affiliates pay for EFT
                     22    products are so high that the profits EFT promises on retail sales are impossible to
                     23    achieve.
                     24              47.   Although it is virtually impossible to resell EFT products for profit,
                     25    there is still a systemic incentive for existing affiliates to recruit new affiliates into
                     26    the program, because EFT pays out recruitment rewards regardless of whether
                     27    affiliates actually sell products at retail to consumers.
                     28    ///
HO W A RT H & S M I T H
                                                                                  SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                      - 12 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 13 of 58 Page ID #:1507



                       1          48.   The promise of lucrative rewards for recruiting others and the relative
                       2   impossibility of selling EFT products for profit induces EFT affiliates to focus on
                       3   recruitment at the expense of retail marketing efforts, making it unlikely that
                       4   meaningful retail sales or meaningful opportunities for retail sales will occur. Any
                       5   EFT product purchases that do occur are generally incidental to purchases of the
                       6   right to participate in EFT’s recruitment chain, and to the extent affiliates made
                       7   any profits, such profits came primarily from recruitment, not product sales.
                       8          49.   At a minimum, abuses from EFT’s endless chain structure include: (1)
                       9   the preying on and misleading of consumers with false statements about potential
                     10    earnings and the business opportunities available for affiliates; (2) affiliates focus
                     11    on recruiting new affiliates rather than on making retail sales of products to end
                     12    consumers; (3) affiliates load up on products they do not want, need, or can sell
                     13    just to purchase additional ownership in the company; (4) affiliates are encouraged
                     14    to make large, unnecessary, and unwanted purchases just to jump up the chain to
                     15    higher levels or buy more ownership in the company; and (5) affiliates are
                     16    encouraged to recruit other affiliates in return for extra bonuses and incentives.
                     17           50.   EFT, Qin, and the EFT Officers and Directors induce affiliates to join
                     18    using material false representations, such as that recruits can realistically resell
                     19    EFT products for profit.
                     20           51.   No Defendant has ever disclosed that EFT operates an Endless Chain
                     21    Scheme or that affiliate investors have virtually no chance to profit by investing in
                     22    EFT.
                     23           52.   Actual and prospective affiliates were promised riches but had no way
                     24    of knowing what commissions, bonuses, and other incentives other affiliates
                     25    received or could reasonably expect to receive through investments and
                     26    participation in the EFT Endless Chain Scheme.
                     27    ///
                     28    ///
HO W A RT H & S M I T H
                                                                                 SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 13 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 14 of 58 Page ID #:1508



                       1         53.    Grand overstatements regarding affiliates’ potential earnings and
                       2   opportunities are part of a pattern and practice throughout the EFT Endless Chain
                       3   Scheme.
                       4   B.    EFT’s Lack of Safeguards for its Endless Chain Scheme
                       5         54.    In endless chain schemes, all but the earliest investors necessarily lose
                       6   their investments as the pool of potential recruits eventually and inevitably dries
                       7   up, breaking the chain. Additionally, those joining endless chain schemes are often
                       8   pressured to purchase products far in excess of their own potential retail or
                       9   personal needs and are thus left saddled with piles of inventory that hold little
                     10    value to them. However, if a purported chain is actually driven by retail end-
                     11    consumer sales instead of recruitment, then the chain-like structure is less
                     12    invidious. Consequently, direct marketers can sometimes avoid being labeled an
                     13    illegal endless chain scheme by actively enforcing sufficient safeguards designed
                     14    to deter inventory loading and encourage actual retail sales to end consumers.
                     15    Some such safeguards include the (1) initial investment rule, (2) the 70% rule, (3)
                     16    the buyback rule, and (4) the 10 customer rule.
                     17          55.    EFT employs no such safeguards and instead encourages recruiting
                     18    over and above retail sales.
                     19    (1) The Initial Investment Rule
                     20          56.    The initial investment rule considers the existence and degree of initial
                     21    investment required to participate in an alleged chain scheme. Illegal endless chain
                     22    schemes tend to require a meaningful payment or initial disbursement by a new
                     23    participant in exchange for the right to sell products and the right to earn rewards
                     24    in return for recruiting other participants into the program. These initial
                     25    investments are largely unrelated to the sale of products to ultimate users.
                     26    Legitimate direct marketing businesses, on the other hand, charge nothing or
                     27    virtually nothing for the right to participate, and to the extent they levy charges,
                     28    such charges are related to the sale of products to ultimate users.
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 14 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 15 of 58 Page ID #:1509



                       1         57.    The EFT chain requires an initial investment of $450 to participate in
                       2   the scheme at the lowest level. This is unrelated to the sale of products to ultimate
                       3   users. In fact, EFT does not require any sales of products at all to ultimate users.
                       4         58.    Further, EFT requires an initial investment well beyond $450 if an
                       5   affiliate wants to move up the EFT chain to earn full recruitment commissions.
                       6   EFT’s website notes that “[i]t is suggested you come in at [the $3,300] franchised
                       7   level, so you can compete at all levels; this will help support your duplication, and
                       8   bring you great residual income.” These distinctions in recruitment levels are
                       9   entirely contingent upon initial investment amounts and completely unrelated to
                     10    retail product sales to end users.
                     11          59.    As further example of recruitment rewards unrelated to the sales of
                     12    products to the ultimate users but rather tied to initial investment amounts, EFT
                     13    offers the “Instant Bonus” program described above.
                     14          60.    The only way to get products to sell is to become an affiliate by virtue
                     15    of making a minimum $450 purchase. Further, the distinctions between different
                     16    investment levels are entirely unrelated to sales to ultimate end users. EFT’s
                     17    rewards are based on recruitment and affiliate purchase orders instead of on retail
                     18    sales to end consumers.
                     19    (2) The 70% Rule
                     20          61.    The 70% rule considers whether participants in a chain earn
                     21    performance bonuses on the basis of purchases from the distributor or on the basis
                     22    of retail sales to end users. Where a direct marketer enforces a rule requiring
                     23    affiliates to prove that they resell at least 70% of the products they purchase to end
                     24    consumers, then revenues are somewhat more likely to be coming from retail sales
                     25    and less likely to be coming from recruitment into the chain.
                     26          62.    Here, EFT specifically denies requiring its affiliates to make any retail
                     27    sales whatsoever, much less a minimum of 70%.
                     28    ///
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 15 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 16 of 58 Page ID #:1510



                       1   (3) The Buy-Back Rule
                       2         63.    The buy-back rule considers the extent to which participants in a chain
                       3   are discouraged from pushing inventory loading on downstream recruits. When a
                       4   direct marketer requires affiliates to buy back saleable, unsold inventory from their
                       5   recruits as such recruits leave the chain, new affiliates are less likely to saddle
                       6   themselves with thousands of dollars’ worth of unsaleable products and senior
                       7   affiliates are less likely to encourage downstream affiliates to engage in inventory
                       8   loading.
                       9         64.    Here, EFT has no buy-back policy whatsoever.
                     10    (4) The 10 Customer Rule
                     11          65.    The 10 customer rule considers the extent to which participants in a
                     12    chain are required to sell to different retail customers. Where a direct marketer
                     13    enforces a policy that withholds performance bonuses to affiliates unless they
                     14    prove sales to 10 different retail customers during each month, then revenues are
                     15    somewhat more likely to be driven by retail sales and less likely to be driven by
                     16    recruitment into the chain.
                     17          66.    Again, EFT does not require affiliates to make any retail sales
                     18    whatsoever, much less to a minimum of ten different retail customers during each
                     19    month.
                     20    C.    “Stock” Inducement Scheme
                     21          67.    Defendants induced additional participation in the endless chain with
                     22    a Stock Inducement Scheme. Defendants created a program where consumers
                     23    could obtain the right to purchase supposedly valuable shares by purchasing
                     24    products. Qin, EFT, and various EFT officers, directors, and employees, along with
                     25    Greenstone, Buckman, and the Buckman Team (Lau, Giakas, and Huemoeller),
                     26    then artificially inflated the perceived value of such shares by misrepresenting the
                     27    value of the EFT enterprise and manipulating the quoted price on the Pink Sheets.
                     28    ///
HO W A RT H & S M I T H
                                                                                 SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 16 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 17 of 58 Page ID #:1511



                       1   This, in turn, induced Plaintiffs and other similarly situated individuals to continue
                       2   purchasing more products in order to have access to more shares.
                       3         68.    Beginning in 2005, Qin held a series of public meetings during which
                       4   he gave speeches to induce Plaintiffs and others to purchase EFT products and
                       5   become company affiliates. Some of Qin’s speeches were recorded and discs of the
                       6   speeches were handed out during meetings in China and circulated among
                       7   Plaintiffs and others. The discs were marketing tools to induce those who did not
                       8   attend Qin’s meetings in person to purchase EFT products and to obtain the
                       9   opportunity to invest in the company by doing so.
                     10          69.    During these meetings, Qin espoused the benefits of EFT’s products.
                     11    He also represented that consumers who purchased the company’s products would
                     12    not only receive the products ordered, they would also receive ownership interests
                     13    in EFT, or the right to purchase ownership interests in EFT, in the form of stock
                     14    certificates that Qin represented as “negotiable securities” that could be sold for
                     15    money. The number and value of shares issued or made available for purchase
                     16    depended on the consumer level of products purchased.
                     17          70.    In 2007, Qin, Curry, EFT, and other EFT officers and directors
                     18    contacted Greenstone to get EFT’s common stock quoted on the OTC Bulletin
                     19    Board. Pursuant to this contact, Greenstone, under the control of Lau and Gaikas
                     20    and in cooperation with Buckman, provided the trading vehicle and public shell,
                     21    HumWare, through which EFT performed a reverse-merger to get listed on the
                     22    OTC Bulletin Board.
                     23          71.    Greenstone, under the control of Lau and Gaikas and in cooperation
                     24    with Buckman, connected Qin, Curry, EFT, and other EFT officers and directors
                     25    with Child, Van Wagoner, & Bradshaw, PLLC (“Wagoner”), an accounting firm
                     26    headquartered in Salt Lake City, Utah. Wagoner was hand-picked by Greenstone,
                     27    Buckman, and the Buckman Team to assist with creating EFT’s financials..
                     28    Greenstone, under the control of Lau and Gaikas and in cooperation with
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 17 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 18 of 58 Page ID #:1512



                       1   Buckman, further created the accounting system EFT used and placed Sharon
                       2   Tang, a Buckman employee, in place as EFT’s CFO. Wagoner has since been
                       3   reprimanded by the Public Company Accounting Oversight Board for various
                       4   material auditing deficiencies, including “the failure, on five audits, to perform
                       5   sufficient procedures related to reverse mergers and other business combinations.”
                       6   Plaintiffs believe one of these audit failures may have involved EFT.
                       7         72.    Greenstone, under the control of Lau and Gaikas and in cooperation
                       8   with Buckman, also connected Qin, EFT, Curry, and other EFT officers and
                       9   directors with Virginia Sourlis (“Sourlis”), an attorney hand-picked to assist with
                     10    creating EFT’s SEC filings, in furtherance of this scheme. Sourlis has since been
                     11    suspended from appearing before the SEC as a result of her involvement with other
                     12    stock manipulation matters where Buckman was the placement agent.
                     13          73.    Greenstone, Buckman, and the Buckman Team also connected Qin,
                     14    EFT, Curry, and other EFT employees and directors with HumWare, the shell
                     15    corporation used for EFT’s reverse merger onto the OTC Bulletin Board. On
                     16    November 7, 2007, HumWare changed its name to EFT BioTech Holdings, Inc.,
                     17    and effected a reverse stock split of 20,000 shares of common stock for 1 share of
                     18    common stock. Subsequently, on November 18, 2007, EFT did a reverse merger
                     19    with EFT BioTech Holdings, Inc., pursuant to which EFT acquired 100% of the
                     20    issued and outstanding shares of EFT BioTech Holdings, Inc. During this time
                     21    period, Gaikas and Lau, managing directors of Buckman, had voting and
                     22    dispositive control of Greenstone, and Huemoeller, an employee of Buckman and a
                     23    consultant to Greenstone, was the CEO and primary owner of HumWare.
                     24          74.    On or about November 18, 2007, Greenstone received 4,000,000 EFT
                     25    shares, Brown Door received 1,000,000 shares, Pierstone received 1,000,000
                     26    shares, and Huemoeller received 350,000 shares of EFT stock. Altogether, these
                     27    6,350,000 shares were transferred in exchange for $11,430.
                     28    ///
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 18 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 19 of 58 Page ID #:1513



                       1          75.    Also in November of 2007, Qin, Curry, EFT, and other EFT officers
                       2   and directors caused 52,099,000 shares of EFT stock to be issued to Dragon Win
                       3   Management, Ltd. (“Dragon Win”), a shell company located in the British Virgin
                       4   Islands, for apparently no consideration. The fact that Qin effectively owned and
                       5   controlled these shares was never disclosed.
                       6          76.    Control of Dragon Win was given to Qin’s mistress, Jun(e) Qin Liu
                       7   (“Liu”). Before being given control of Dragon Win and its nearly $200,000,000
                       8   worth of stock, Liu had been an administrative assistant for eFastTeam, and she
                       9   had only earned an $18,000 salary the year before. In actuality, Liu was a
                     10    figurehead used to disguise the extent of Qin’s ownership.
                     11           77.    Starting in January of 2008, Buckman administered a purported
                     12    Regulation S Offering (the “Offering”) where 14,890,040 shares were purportedly
                     13    sold to Plaintiffs and others for $51,149,412, representing a price increase of
                     14    211,111% over what was charged to various insiders less than two months prior.
                     15           78.    To successfully push this incredible valuation and perpetrate their
                     16    scheme, various Defendants knowingly and willfully distributed numerous material
                     17    misrepresentations and concealed numerous material facts.
                     18           79.    For example, in January of 2008, Qin, Curry, EFT, and other EFT
                     19    officers, directors, and employees caused the misrepresentation that EFT had
                     20    grown into a $782 billion business to appear on the EFT website at
                     21    http://www.eftb.us. This misrepresentation was broadcast worldwide from a server
                     22    located in Dallas, Texas, with a server IP address of 50.23.225.63, and remained
                     23    posted from the beginning and through the duration of the Offering. This assertion
                     24    was false. No Defendant believed it to be true nor had reasonable grounds for
                     25    believing it to be true.
                     26           80.    Additionally, from 2007 through at least 2010, Qin knowingly and
                     27    willfully made misrepresentations in speeches, both in person and distributed over
                     28    the internet through EFT’s websites, which claimed EFT would soon be listed for
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 19 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 20 of 58 Page ID #:1514



                       1   sale on the New York Stock Exchange and that the shares owned by Plaintiffs and
                       2   others would soon double in value. For example, in April of 2007, Qin gave a
                       3   speech in Hong Kong where he claimed that “[w]e can make the value of shares
                       4   double many times” and that “[t]he worst condition is to make the value [only]
                       5   double once.” On April 15, 2007, in a conference room of a hotel in Tainjin,
                       6   China, Qin promised that “franchise-level consumers will become millionaires one
                       7   year later after following our company just because they are franchise-level.” On
                       8   January 28, 2008, Qin maintained that “we will buy a mine in Chinese mainland”
                       9   “[a]nd the meaning of buying this mine is that the value of our stocks will increase
                     10    to $40 USD if the value of the mine could be accepted in the international market.”
                     11    On January 9, 2009, Qin gave a speech in Bali where he urged investors to hold
                     12    onto their shares and maintained that investor recovery through EFT stock “will
                     13    definitely happen” and “will not go wrong.” And in August of 2010, at a
                     14    conference in Halong Bay, Vietnam, Qin represented that an EFT stock “blowout”
                     15    would occur the following year, would be listed on the main board of the NYSE in
                     16    three months, and that “EFTB stock rising up to $60-100 per share is not a dream.”
                     17    All these assertions were false. No Defendant believed them to be true nor had
                     18    reasonable grounds for believing them to be true.
                     19          81.    Further, from 2007 through the present, Qin, EFT, Greenstone,
                     20    Buckman, the Buckman Team, and other Defendants knowingly and willfully
                     21    suppressed the material fact that they were manipulating prices and as a
                     22    consequence the shares held by Plaintiffs would eventually have little to no value.
                     23    All Defendants were bound to disclose the material fact that they intended to and
                     24    were in fact operating stock manipulation scheme, yet they suppressed this fact.
                     25    Instead, Defendants stayed silent while Qin, EFT, and the EFT Team gave
                     26    information of other facts, such as promises of high investment returns and other
                     27    facts as mentioned above, which were materially misleading for want of
                     28    communication of the fact that Defendants were actually operating a stock
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                  - 20 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 21 of 58 Page ID #:1515



                       1   manipulation scheme. For example, during his speeches, Qin represented to
                       2   Plaintiffs and others that the value of their ownership interests in EFT would
                       3   increase as more consumers purchased products. In 2010, as Defendants were still
                       4   liquidating their shares and the price of the shares was still falling, Qin told
                       5   Plaintiffs and others that:
                       6                “The coming years shall be a harvest period for EFTB
                       7                investors . . . Recently, minority shareholders are quite
                                        unsatisfied with the news that Buckman shall charge $40 on
                       8                June 25 as the account quarter management fee . . . At this time,
                       9                shareholders need to be calm and patient. Try to observe and
                                        think. The sole purpose of investment is to gain high return.
                     10                 Only actions that help us to gain high returns are correct; others
                     11                 are useless . . . Totally we have 20 to 30 thousand shareholders.
                                        Let’s say each shareholder buys in 5 stocks, then there shall be
                     12                 100 to 150 thousand purchasing power. That means stock crash
                     13                 can be avoided . . . the 150 thousand stock shall push the stock
                                        price up.”
                     14
                     15    82.   Greenstone, Buckman, and the Buckman Team, in conjunction with Qin,

                     16    EFT, and others, also manipulated reported prices in order to get consumers to buy

                     17    more products and unlock more investment opportunities. In 2007, EFT’s stock

                     18    traded on the Pink Sheets. The Pink Sheets are known to be vulnerable to price

                     19    manipulation because of thin trading and reporting requirements. A company that

                     20    trades at a low volume is vulnerable to price manipulation because, among other

                     21    things, insiders are able to trade back and forth between each other to create an

                     22    illusion of rising prices. Typically, trading volume correlates with price

                     23    fluctuations, as lots of activity typically comes from and/or causes shifts in price.

                     24    In EFT’s case, the price/volume patterns were somewhat different than what one

                     25    might expect in a freely-trading open market. During the period immediately

                     26    preceding the private placement, EFT traded on the Pink Sheets for pennies a

                     27    share, with a relatively high trading volume. During the same time window, and

                     28    after the largest volume of shares were positioned among insiders for pennies, the
HO W A RT H & S M I T H
                                                                                 SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 21 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 22 of 58 Page ID #:1516



                       1   price leading up to the private placement was gradually increased through tiny
                       2   trades. The price and volume, seen in tandem, reveal a striking pattern:
                       3
                       4
                       5
                       6
                       7
                       8
                       9
                     10    The volume, in green, flatlined around the same time that the price, previously flat,
                     11    rocketed upwards. In other words, the high prices immediately preceding the
                     12    private placement orchestrated by Buckman—which involved restricted shares that
                     13    could not themselves be traded to affect the price—appear to have been created on
                     14    exceptionally low levels of actual trading volume. Plaintiffs believe this pattern
                     15    reflects a plan of price manipulation that was devised by Greenstone, Buckman,
                     16    and the Buckman Team and that was executed by insider and undisclosed trades
                     17    between Qin, Greenstone, the Buckman Team, the Shell Companies (Brown Door,
                     18    Pierstone, and Regal Walnut), and others over whom Qin and the Buckman Team
                     19    exercised controlled. Defendants Qin, Greenstone, the Buckman Team, the Shell
                     20    Companies, and others all owed Plaintiffs and others a duty to disclose that they
                     21    were trading on insider information and operating a stock manipulation scheme,
                     22    yet no Defendant made any such disclosure.
                     23          83.    In or about April of 2008, Buckman, acting as placement agent for
                     24    EFT, created a Private Placement Memorandum which concealed numerous
                     25    material facts and misrepresented others. This memorandum was not signed by any
                     26    particular individuals at Buckman but rather was issued generically as a written
                     27    group statement. However, EFT has claimed that Greenstone, which is operated by
                     28    Buckman employees Lau and Giakas, was hired to effectuate the private placement
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 22 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 23 of 58 Page ID #:1517



                       1   process and was instrumental in coordinating operations on both the EFT and the
                       2   Buckman side:
                       3                Greenstone met with the Company’s officers and directors
                                        several times and sat in on many Board meetings to discuss and
                       4                plan the Company’s future, business strategies and financing
                                        options. When the Company and Greenstone agreed that the
                       5                Company would benefit from conducting a Private Placement
                                        Offering of common stock, the Board and Greenstone made the
                       6                decision to engage Buckman, Buckman & Reid, Inc., a
                                        registered broker/dealer, as the placement agent for the
                       7                Company’s January 2008 Regulation S Offering that ended in
                                        October 2008. Greenstone also played a vital role in directing
                       8                and advising the Board to file a Registration Statement on Form
                                        10 to become a fully-reporting company and to have Buckman,
                       9                Buckman & Reid, Inc. sponsor the Company to file an
                                        application with FINRA to act as a market maker. Greenstone
                     10                 also assisted the Company and its Board in determining the
                                        termination and appointment of certain key executive officers
                     11                 and directors of the Company.
                     12    Hence, Lau and Gaikas, as Buckman employees and as the managing directors of
                     13    Greenstone, are factually connected to the Buckman memorandum and likely
                     14    participated in the authorship of it. This memorandum represented that shares
                     15    would be offered “exclusively to non-U.S. residents” while actually offering and
                     16    accepting share purchases from both U.S. residents and non-residents. It
                     17    represented that the stock was trading on the Pink Sheets at $6.85 per share without
                     18    disclosing that it, along with Greenstone, the Buckman Team, Qin, the Shell
                     19    Companies, had manipulated this price and corresponding Pink Sheet quotations
                     20    through insider back-and-forth trading. It claims that it would only be entitled to a
                     21    5% commission and 1% expense allowance without disclosing the millions of
                     22    shares of ownership that had or would be distributed among the Buckman Team
                     23    and their respective Shell Companies for virtually no consideration. It describes
                     24    EFT’s business without disclosing that EFT actually operates an illegal endless
                     25    chain system. It falsely stated that EFT “make[s] no claims as to the products
                     26    curing any medical situation, or preventing any medical ailment,” despite its
                     27    authors’ knowledge of the dozens of medical claims littering EFT’s product
                     28    advertisements. It falsely stated that “[t]here are no relationships existing among
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 23 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 24 of 58 Page ID #:1518



                       1   and between the issuer’s officers and directors,” despite the known relationship
                       2   between Qin and his mistress Jun Qin Liu (through whom he exercised concealed
                       3   control over the majority of EFT’s shares). And it otherwise is materially
                       4   misleading in its presentation of EFT’s business and in its lack of adequate
                       5   disclosures.
                       6         84.      The Stock Inducement Plan was never about giving actual shares of
                       7   stock to consumers but rather was a contrivance to increase participation in the
                       8   endless chain and maximize the extraction of funds from Chinese consumers.
                       9   Consequently, Qin, Buckman, and the Buckman Team coordinated the
                     10    management of ghost accounts for supposed investors; investors were told that
                     11    they had purchased stock that they were not allowed to sell for two years, and this
                     12    stock was supposedly placed in holding accounts at Buckman which were subject
                     13    to undisclosed quarterly holding fees. Buckman, along with the Buckman Team,
                     14    had a duty to disclose these holding fees, but either failed to do so or only did so
                     15    while purposefully concealing such fees through the use of small print in a
                     16    language foreign to those of the “investors.” Indeed, many investors did not in fact
                     17    actually receive any real stock certificates. Further, by the time investors expected
                     18    to be able to sell, the once-inflated value of shares had deflated to nearly nothing,
                     19    and Buckman claimed to have liquidated such shares to cover its previously-
                     20    undisclosed management fees.
                     21          85.      Qin continued giving speeches into at least 2010, during which, in
                     22    addition to touting EFT products and extolling their benefits, he solicited
                     23    investments in EFT through the sale of company shares which he promised would
                     24    at least double in value as long as investors held onto their shares until the
                     25    company was able to go through with its expected listing on the New York Stock
                     26    Exchange. This listing never occurred, nor did Qin believe or ever have reasonable
                     27    grounds for believing it would occur.
                     28    ///
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 24 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 25 of 58 Page ID #:1519



                       1         86.   The effect of Defendants’ misrepresentations and omissions was
                       2   increased demand for the “shares” of EFT. This drove Plaintiffs and others to
                       3   purchase more products in the endless chain scheme.
                       4   D.    Plaintiffs Become Shareholders and the Equitable Tolling of their
                       5         Claims
                       6         87.   Plaintiff Li attended five public meetings with Qin and listened to
                       7   recordings of some of his later speeches. Li also reviewed written EFT marketing
                       8   materials. In reliance on Qin’s misrepresentations about the value and quality of
                       9   EFT’s products and investment opportunities in the company, and after reviewing
                     10    the written materials, Li purchased approximately $32,000 worth of EFT products,
                     11    for which he received what he was told were over 30,000 shares in the company.
                     12          88.   Plaintiff Zhao attended three public meetings with Qin and listened to
                     13    recordings of some of his later speeches. Zhao also reviewed written EFT
                     14    marketing materials. In reliance on Qin’s misrepresentations about the value and
                     15    quality of EFT’s products and investment opportunities in the company, and after
                     16    reviewing the written materials, Zhao purchased approximately $46,530 worth of
                     17    EFT products, for which he received the right to purchase and did in fact purchase
                     18    what he was told were 13,000 shares in the company for an additional $49,400.
                     19          89.   Plaintiff Hu attended five public meetings with Qin and listened to
                     20    recordings of some of his later speeches. Hu also reviewed written EFT marketing
                     21    materials. In reliance on Qin’s misrepresentations about the value and quality of
                     22    EFT’s products and investment opportunities in the company, and after reviewing
                     23    the written materials, Hu and her family purchased approximately $25,080 worth
                     24    of EFT products, for which she received the right to purchase and did in fact
                     25    purchase what she was told were 15,000 shares in the company for an additional
                     26    $57,000.
                     27          90.   Plaintiff Liu attended one public meeting with Qin and listened to
                     28    recordings of some of his later speeches. Liu also reviewed written EFT marketing
HO W A RT H & S M I T H
                                                                              SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                  - 25 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 26 of 58 Page ID #:1520



                       1   materials. In reliance on Qin’s misrepresentations about the value and quality of
                       2   EFT’s products and investment opportunities in the company, and after reviewing
                       3   the written materials, Liu purchased approximately $29,700 worth of EFT
                       4   products, for which she received the right to purchase and did in fact purchase
                       5   what she was told were 3,300 shares in the company for an additional $12,540.
                       6         91.    Plaintiffs purchased their shares in EFT for $3.80 per share. The value
                       7   of Plaintiffs’ shares in EFT eventually dropped to less than a penny. At various
                       8   times after purchasing their initial shares in EFT, and before the value of shares
                       9   dropped to below one cent, Plaintiff Li and others approached Defendant Qin to
                     10    discuss EFT’s stock price, product quality, EFT’s team leadership structure, and
                     11    other issues relating to the EFT and the declining value of its shares. During these
                     12    meetings, Qin repeatedly assured Mr. Li and others, both in public and private
                     13    meetings, that EFT’s products were good and that the value of the Company’s
                     14    shares would increase as long as long as Mr. Li and others maintained their
                     15    holdings and recruited more individuals to purchase EFT product and invest in the
                     16    Company. Throughout their discussions, Qin continued to promote EFT and its
                     17    products and assured Plaintiffs and others that their investments were safe and
                     18    would pay off.
                     19          92.    Qin and EFT repeatedly and willfully made knowingly false claims
                     20    for the purpose of inducing Plaintiffs and others to forebear from trying to sell their
                     21    supposed investments in EFT. Generally, Qin would purposefully make a false
                     22    claim for the future, the future would come and prove the falsity of the claim, and
                     23    then Qin would cover with a false excuse while simultaneously making another
                     24    false claim for the future.
                     25          93.    For example, in April of 2007, Qin made and publicized online a
                     26    speech where he spoke of getting EFT stock “listed” and claimed “We can make
                     27    the value of shares double many times. The worst condition is to make the value
                     28    [just] double once.” But instead of doubling in value, EFT stock dropped in value.
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 26 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 27 of 58 Page ID #:1521



                       1   To explain this turn of events, Qin gave a speech on June 28, 2008, where he made
                       2   up a false and fantastical story about a single short-seller being responsible for
                       3   bringing down the value of EFT stock, and stated “In the future, you do not need to
                       4   pay too much attention to the fluctuation of price . . . [y]ou could concern about the
                       5   price and do not need to worry. Nothing will happen to EFT who can buy
                       6   [business] with NT 19.9 billion dollar . . . The increase of up and down is healthy.
                       7   You never see the price to go straight up . . . the big generation of EFT will come.”
                       8   But instead of the “big generation of EFT” coming, the value of EFT stock
                       9   continued to drop. To explain this turn of events, Qin gave a speech in Bali on
                     10    January 9, 2009, where he made up false and fantastical financial projections while
                     11    blaming the financial markets at large, maintaining that “According to our original
                     12    plan, if no financial crisis, the price of our stocks should be $8 to $10 and the end
                     13    of last year. But the premise was no financial crisis. According to our original plan
                     14    and development condition, the price of our stock will be doubled at the end of
                     15    2009. And there will be doubled once or twice at the end of 2010. This is the
                     16    original anticipation. But the condition now has changed. And you should be
                     17    patient.” Qin also maintained that “According to our original plan, our stocks
                     18    would be listed in 19 November 2007 and would be listed in the main board in
                     19    April or May or June or July 2008 . . . In September, many people were still
                     20    expecting to knock the bell in the U.S. and I promised to take 200 people to knock
                     21    the bell. I think we were so lucky no to go there . . . EFT is so lucky because our
                     22    stocks are not listed in the main board. . . but in the beginning or the second half of
                     23    this year, a favorable turn may appear. There will be a chance before the turn . . .
                     24    I hope shareholders or consumers who had lost great amount of money in Chinese
                     25    stock market could recover in EFT stock market. I sincerely hope that will happen
                     26    and I know this will definitely happen.” But the value of EFT declined instead of
                     27    doubling by the end of 2010, EFT stock was never listed in the main board as
                     28    promised, and the “definite” recovery coming to shareholders never actually came.
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 27 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 28 of 58 Page ID #:1522



                       1   To explain this turn of events, Qin gave a 2010 speech where he blamed third
                       2   parties, claiming that “due to our investment in ocean shipping, we were cheated
                       3   by Renhe Jiao, a partner from Taiwan. So, we’re litigating. After the lawsuit is
                       4   won, the stock will go up.” But, again, the value of EFT stock went down, not up.
                       5   To explain this turn of events, Qin gave a 2011 speech where he claimed that “the
                       6   shipyard will compensate us with more money than the purchase cost of the ship,
                       7   and the later the compensation, the more the money will be given, and the stock
                       8   ‘blowout’ will occur.” But, as usual, the shipyard never compensated EFT, much
                       9   less for more than the purchase cost of the ship, and no stock “blowout” ever
                     10    occurred.
                     11          94.    After years of repeated misrepresentations that the value of Plaintiffs’
                     12    investment in EFT was secure and would be realized once the company was listed
                     13    on the main stock board, Plaintiffs began to suspect that the assurances of Qin,
                     14    EFT, and others were false and misleading. Thus, in 2012, Plaintiffs set out to
                     15    locate other similarly situated Chinese consumers who had attended meetings with
                     16    Qin, purchased EFT products, and become company shareholders. Through their
                     17    efforts, Plaintiffs determined that there are tens of thousands of Chinese consumers
                     18    – both rich and poor – who, based on Qin’s speeches about the benefits of EFT’s
                     19    products and promises of riches, invested tens of millions of dollars in EFT by
                     20    becoming company affiliates.
                     21          95.    After discovering that they were not alone and that the fraudulent
                     22    Endless Chain Scheme and Stock Inducement Scheme had ensnarled so many
                     23    unsuspecting Chinese consumers, Plaintiffs engaged counsel, first in China and
                     24    later the U.S., to explore their legal options. It was only after engaging counsel in
                     25    2012 that Plaintiffs first learned of the endless chain, false promises, and misuse of
                     26    the money they had invested in EFT. This was also the first time that Plaintiffs
                     27    learned that the products they purchased were mislabeled and that some of the
                     28    products contained unlisted ingredients and others did not contain the full amount
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 28 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 29 of 58 Page ID #:1523



                       1   of ingredients listed on product labels. Further, it was not until May 21, 2013, that
                       2   Plaintiffs discovered that some of their stockholder certificates were counterfeit
                       3   and of the mass involuntary share liquidations perpetrated by Buckman.
                       4                                         COUNT I
                       5                   (ENDLESS CHAIN SCHEME; California Penal
                                            Code § 327 and California Civil Code § 1689.2.)
                       6
                                                         Against All Defendants
                       7
                       8         96.     Plaintiffs repeat, reallege, and incorporate by reference the allegations
                       9   contained in the paragraphs above as if fully set forth herein.
                     10          97.     California Penal Code § 327 renders endless chain schemes illegal.
                     11    Section 1689.2 of the California Civil Code provides:
                     12                  A participant in an endless chain scheme, as defined in Section
                                         327 of the Penal Code, may rescind the contract upon which the
                     13                  scheme is based, and may recover all consideration paid
                                         pursuant to the scheme, less any amounts paid or consideration
                     14                  provided to the participant pursuant to the scheme.
                     15          98.     Qin, EFT, and the EFT Officers and Directors operated an endless
                     16    chain scheme. Greenstone, Buckman, the Buckman Team, and the Shell
                     17    Companies assisted Qin, EFT, and the EFT Officers and Directors with increasing
                     18    demand for the endless chain scheme and thereby increasing participation therein.
                     19          99.     Plaintiffs have suffered injuries in fact and have lost money or
                     20    property because of the business acts, omissions, and practices of Qin, EFT, the
                     21    EFT Officers and Directors, Greenstone, Buckman, the Buckman Team, and the
                     22    Shell Companies.
                     23          100. Plaintiffs are entitled to recover all consideration paid under the
                     24    scheme, less any amounts paid or consideration provided to the participants under
                     25    the scheme.
                     26          101. As violations of California Penal Code §327 are punishable by
                     27    imprisonment for over one year, violations of California Penal Code §327 can
                     28    provide the basis for a RICO predicate act of racketeering.
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 29 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 30 of 58 Page ID #:1524



                       1         102. As Defendants’ violations of California Penal Code §327 constitute a
                       2   pattern of felonious fraud and grand theft causing injury in excess of $3,200,000,
                       3   such acts and omissions are punishable by imprisonment for over one year under
                       4   California Penal Code §§ 487, 12022, and 186.1, and thus can provide the basis for
                       5   a RICO predicate act of racketeering.
                       6                                       COUNT II
                       7             (DECEPTION and COMMON LAW FRAUD: California
                              Civil Code §§ 1709- 1710; California Penal Code §§ 487, 12022, 186.11)
                       8
                                                     Against Defendants Qin and EFT
                       9
                     10          103. Plaintiffs repeat, reallege, and incorporate by reference the allegations
                     11    contained in the paragraphs above as if fully set forth herein.
                     12          104. California Civil Code § 1709 provides:
                     13                 One who willfully deceives another with intent to induce him to
                                        alter his position to his injury or risk, is liable for any damage
                     14                 which he thereby suffers.
                     15          105. California Civil Code § 1710 provides:
                     16                 A deceit, within the meaning of the last section, is either:
                     17                       1. The suggestion, as a fact, of that which is not true, by
                                              one who does not believe it to be true;
                     18
                                              2. The assertion, as a fact, of that which is not true, by one
                     19                       who has no reasonable ground for believing it to be true;
                     20                       3. The suppression of a fact, by one who is bound to
                                              disclose it, or who gives information of other facts which
                     21                       are likely to mislead for want of communication of that
                                              fact; or,
                     22
                                              4. A promise, made without any intention of performing
                     23                       it.
                     24          106. Qin      and     EFT   knowingly      and     willfully   made   numerous
                     25    misrepresentations and suppressions of material fact to Plaintiffs and others. For
                     26    example:
                     27                 (A) In January of 2008, Qin, Curry, and other EFT officers
                                        and directors knowingly and willfully caused the
                     28                 misrepresentation that EFT had grown into a $782 billion
                                        business to appear on the EFT website. This assertion or
HO W A RT H & S M I T H
                                                                                  SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 30 -                 DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 31 of 58 Page ID #:1525



                       1               suggestion of fact was not true. No Defendant believed it to be
                                       true nor had reasonable grounds for believing it to be true.
                       2               (B) From 2007 and continuing through at least 2010, Qin
                       3               knowingly and willfully made misrepresentations in speeches,
                                       made both in person and also distributed over the internet, which
                       4               claimed EFT would soon be listed for sale on the New York
                                       Stock Exchange and that the shares owned by Plaintiffs and
                       5               others would soon double in value. For example, in April of
                                       2007, Qin claimed that “[w]e can make the value of shares
                       6               double many times” and that “[t]he worst condition is to make
                                       the value [only] double once.” On April 15, 2007, in a
                       7               conference room of a hotel in Tainjin, China, Qin promised that
                                       “franchise-level consumers will become millionaires one year
                       8               later after following our company just because they are
                                       franchise-level.” On January 28, 2008, Qin maintained that “we
                       9               will buy a mine in Chinese mainland” “[a]nd the meaning of
                                       buying this mine is that the value of our stocks will increase to
                     10                $40 USD if the value of the mine could be accepted in the
                                       international market.” On January 9, 2009, Qin gave a speech in
                     11                Bali where he urged investors to hold onto their shares and
                                       maintained that investor recovery through EFT stock “will
                     12                definitely happen” and “will not go wrong.” And in August of
                                       2010, at a conference in Halong Bay, Vietnam, Qin represented
                     13                that an EFT stock “blowout” would occur the following year,
                                       would be listed on the main board of the NYSE in three months,
                     14                and that “EFTB stock rising up to $60-100 per share is not a
                                       dream.” All of these assertions or suggestions of fact were not
                     15                true. No Defendant believed them to be true nor had reasonable
                                       grounds for believing them to be true.
                     16                (C) From 2007 and continuing through the present, Qin, EFT,
                                       Greenstone, Buckman, the Buckman Team, and the Shell
                     17                Companies, as well as the EFT Officers and Directors from at
                                       least 2009 to the present, knowingly and willfully suppressed
                     18                the material fact that they were operating an endless chain
                                       scheme and a stock inducement scheme, and that as a
                     19                consequence of these schemes the shares and products held by
                                       Plaintiffs would eventually have little to no value. Qin, EFT, the
                     20                EFT Officers and Directors, Greenstone, Buckman, the
                                       Buckman Team, and the Shell Companies were bound to
                     21                disclose the material fact that they intended to and were in fact
                                       operating such schemes, yet they suppressed this fact. Instead,
                     22                Qin, EFT, the EFT Officers and Directors, Greenstone,
                                       Buckman, the Buckman Team, and the Shell Companies gave
                     23                information of other facts, such as promises of high investment
                                       returns, false statements in private placement memorandums,
                     24                false assurances of legality and regulatory compliance, and other
                                       facts as mentioned above, which were materially misleading for
                     25                want of communication of the fact that they were actually
                                       operating an endless chain scheme and a stock inducement
                     26                scheme.
                     27          107. Plaintiffs purchased shares in EFT at $3.80 per share. Subsequently,
                     28    Plaintiffs’ shares dropped in value, eventually becoming worth less than a penny.
HO W A RT H & S M I T H
                                                                             SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                 - 31 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 32 of 58 Page ID #:1526



                       1   At various times after purchasing their initial shares in EFT, and before the value
                       2   of shares dropped to below one cent, Plaintiff Li and others approached Defendant
                       3   Qin to discuss EFT’s stock price, product quality, EFT’s team leadership structure,
                       4   and other issues relating to the Company and the declining value of its shares.
                       5   During these meetings, Qin repeatedly issued and used the aforementioned
                       6   misrepresentations and suppressions of material facts to assure Mr. Li and others,
                       7   both in public and private meetings, that EFT’s products were good and that the
                       8   value of the Company’s shares would increase as long as Mr. Li and others
                       9   maintained their shares and recruited more individuals to purchase EFT product
                     10    and invest in the Company. Throughout their discussions, Qin continued to
                     11    promote EFT and its products and assured Plaintiffs and others that their
                     12    investments were safe and would pay off. For example, in a speech on June 28,
                     13    2008, Qin made up a false story about a single short-seller being responsible for
                     14    bringing down the value of EFT stock, and then stated that “In the future, you do
                     15    not need to pay too much attention to the fluctuation of price . . . [y]ou could
                     16    concern about the price and do not need to worry. Nothing will happen to EFT who
                     17    can buy [business] with NT 19.9 billion dollar . . . The increase of up and down is
                     18    healthy. You never see the price to go straight up . . . the big generation of EFT
                     19    will come.” At no time did any Defendant disclose that they were operating an
                     20    endless chain scheme or stock inducement scheme.
                     21          108. Such misrepresentations and suppressions were made willfully and
                     22    knowingly, with the purpose and intent of inducing Plaintiffs to forebear from
                     23    selling their shares until after the execution of the various schemes.
                     24          109. Had Qin and EFT made truthful disclosures instead of the
                     25    aforementioned misrepresentations and suppressions of material fact, Plaintiffs
                     26    would have sold their shares. But for the deceptive acts and omissions, Plaintiffs
                     27    would not have held their shares through the duration of the various schemes.
                     28          110. Plaintiffs justifiably relied the misrepresentations and concealments of
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 32 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 33 of 58 Page ID #:1527



                       1   Qin and EFT, and were in fact induced to retain their shares until after such shares
                       2   were worthless.
                       3         111. Plaintiffs have suffered injuries in fact and have lost money or
                       4   property because of the deceptive acts of Qin and EFT.
                       5         112. Plaintiffs are entitled to recover all losses suffered as a result of the
                       6   deceptive acts of Qin, EFT, the EFT Officers and Directors, Greenstone, Buckman,
                       7   the Buckman Team, and the Shell Companies.
                       8         113. The various deceptive acts and omissions constitute a pattern of
                       9   felonious fraud and grand theft causing injury in excess of $3,200,000. Under
                     10    California Penal Code §§ 487, 12022, 186.1, such acts and omissions are
                     11    punishable by imprisonment for over one year and thus can provide the basis for a
                     12    RICO predicate act of racketeering.
                     13                                        COUNT III
                     14                               (RICO 18 U.S.C. § 1962(c))
                     15                                  Against All Defendants
                     16          114. Plaintiffs repeat, reallege, and incorporate by reference the allegations
                     17    contained in the paragraphs above as if fully set forth herein.
                     18          115. EFT, Qin, the EFT Officers and Directors, Buckman, the Buckman
                     19    Team, the Shell Companies, and others known and unknown make up the “EFT
                     20    Enterprise,” an association of entities and individuals associated in fact to operate
                     21    multiple illegal schemes, including but not limited to the Endless Chain Scheme
                     22    and Stock Inducement Scheme. EFT, Qin, the EFT Officers and Directors,
                     23    Buckman, the Buckman Team, the Shell Companies are engaged in activities
                     24    affecting federal interstate and foreign commerce and are entities capable of
                     25    holding a legal or beneficial interest in property. EFT, Qin, the EFT Officers and
                     26    Directors, Buckman, the Buckman Team, the Shell Companies, and other
                     27    participants in the EFT Enterprise are all “persons” as that term is defined by 18
                     28    U.S.C. §1961(3).
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 33 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 34 of 58 Page ID #:1528



                       1         116. Except for Chow, Soon, Sluss, and Ko, Defendants have been
                       2   members of the EFT Enterprise since at least 2007 and continuing until the present.
                       3   Chow, Soon, and Ko joined the EFT Enterprise by at least 2009 and Sluss joined
                       4   the EFT Enterprise in 2010. Qin, the EFT Officers and Directors, Buckman, the
                       5   Buckman Team, the Shell Companies, and others are separate entities from the
                       6   EFT Enterprise and play separate and distinct roles in the operation of the EFT
                       7   Enterprise. Among others, participants in the EFT Enterprise include:
                       8               (A) Qin is the founder, architect, and main beneficiary of the
                                       current EFT Endless Chain Scheme as well as various prior
                       9               endless chain schemes. Through interstate wire and mails, he
                                       coordinates the EFT Enterprise, a worldwide scheme. Qin is also
                     10                affiliated with numerous shell companies and individuals,
                                       through which he coordinates and operates his schemes.
                     11
                                       (B) EFT is the official front business structured to run the EFT
                     12                Endless Chain Scheme and to be used as a vehicle in various
                                       other schemes. It is the most recent iteration of a long
                     13                succession of front businesses used to run endless chains and
                                       other scams operated by Qin and others, such as eFastTeam,
                     14                eFastTeam2000, and ef2t. EFT is affiliated with numerous shell
                                       companies and individuals that reap fraudulent profits by using
                     15                it in various schemes.
                     16                (C) Jun(e) Qin Liu (“Liu”) was Qin’s mistress and an
                                       administrative assistant at eFastTeam, one of the predecessor
                     17                versions of EFT. After earning a salary of $18,000 in 2007, Liu
                                       was appointed to EFT’s Board of Directors in 2008 and given
                     18                control over 52,099,000 shares of EFT stock (representing over
                                       68% of issued and outstanding common stock, or more than
                     19                $192,000,000 at the OTC valuation of $3.70 per share). She
                                       gained control over this stock when Qin placed her in control of
                     20                the British Virgin Islands shell company Dragon Win. In fact,
                                       Qin was the beneficiary and person with control over Dragon
                     21                Win.
                     22                (D) Dragon Win is a shell corporation located in the British
                                       Virgin Islands that at its inception was created to be de jure
                     23                managed by Liu, Qin’s mistress, and de facto controlled by Qin
                                       himself, through Liu. Dragon Win’s purpose was to facilitate the
                     24                various schemes of Qin and Defendants. EFT, under the control
                                       of Qin and with the assistance of Liu and other accomplices,
                     25                ultimately funneled 52,099,000 shares of EFT into Dragon Win,
                                       at a total market value of over $192,000,000. Dragon Win
                     26                currently owns approximately 1,600,000 shares, having
                                       successfully unloaded the rest.
                     27
                                       (E) Buckman is a broker/dealer incorporated in New Jersey. It,
                     28                in conjunction with various affiliated companies owned and
HO W A RT H & S M I T H
                                                                              SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                  - 34 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 35 of 58 Page ID #:1529



                       1      operated by Buckman managers and employees, knowingly
                              provided the financial expertise and business vehicles needed
                       2      for the EFT Enterprise’s schemes to operate. It, along with its
                              managing director Lau and his company Greenstone, drafted the
                       3      deceptive private placement memorandum associated with the
                              2008 private placement of EFT shares. Buckman is registered
                       4      with the SEC and with FINRA, and has 13 FINRA public
                              disclosure events. Nine of these relate to final, formal
                       5      proceedings initiated by regulatory authorities for violations of
                              investment-related rules or regulations. Four of these are FINRA
                       6      arbitration awards involving securities and commodities
                              disputes between public customers and Buckman. Buckman
                       7      served as EFT’s placement agent for its Regulation S Offering
                              and market maker of EFT’s common stock on the OTC Bulletin
                       8      Board. Various owners and employees of Buckman also
                              operated the entities which enabled EFT’s reverse-merger onto
                       9      the OTC Bulletin Board. While providing these services,
                              Buckman and its owners, managing directors, and employees
                     10       funneled millions of EFT shares into various shell corporations
                              and facilitated the price manipulation in the EFT Stock
                     11       Inducement Scheme.
                     12       (F) Huemoeller is an employee of Buckman, the ex-CEO and
                              President of HumWare, and a consultant to Greenstone.
                     13       Huemoeller is registered with FINRA and has two disclosure
                              events for arbitrations where he was ordered to pay
                     14       approximately $199,000 in damages to his customers. In
                              November of 2007, and before the execution of the EFT
                     15       Enterprise’s Stock Inducement Scheme, Huemoeller received
                              350,000 shares of EFT stock for virtually no consideration.
                     16
                              (G) HumWare was the shell corporation used as the reverse-
                     17       merger vehicle for getting EFT listed on the OTC Bulletin
                              Board. HumWare was owned and operated by Buckman
                     18       employee and Greenstone consultant Huemoeller. HumWare’s
                              value to the EFT Enterprise was that it was trading on the Pink
                     19       Sheets as a typical penny stock. As such, it could be used as a
                              reverse-merger vehicle to bypass many of the extensive
                     20       regulatory hurdles for listing normally imposed by the SEC and
                              quickly get EFT listed for public trading. On November 7, 2007,
                     21       HumWare changed its name to EFT BioTech Holdings, Inc.,
                              and effected a reverse stock split of 20,000 shares of common
                     22       stock for 1 share of common stock.
                     23       (H) Lau is a managing director and 5-10% owner of Buckman,
                              a co-founder/president of Greenstone, director or owner of
                     24       Pierstone, and a director CTX.
                     25       (I) Gaikas is a managing director and 5-10% owner of
                              Buckman, a co-founder/director of Greenstone, and a director or
                     26       owner of Brown Door.
                     27       (J) Greenstone is a shell corporation founded and by Lau and
                              Gaikas. Lau and Gaikas have voting and dispositive control of
                     28       Greenstone. Greenstone, Buckman, Heumoeller, Lau, and
HO W A RT H & S M I T H
                                                                    SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                        - 35 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 36 of 58 Page ID #:1530



                       1      Gaikas served as the financial advisors to get EFT listed on for
                              public trading on the OTC Bulletin Board. In November of
                       2      2007, and before the execution of EFT’s Stock Inducement
                              Scheme, Greenstone received 4,000,000 shares of EFT stock for
                       3      virtually no consideration.
                       4      (K) Pierstone is a shell corporation located in New York that is
                              directed or controlled by Lau. In November of 2007, and before
                       5      the execution of the Share Inducement Scheme, it received
                              1,000,000 shares of EFT stock for virtually no consideration.
                       6
                              (L) Brown Door is a shell corporation located in Farmingdale,
                       7      New Jersey, that is directed or controlled by Gaikas. In
                              November of 2007, and before the execution of the Share
                       8      Inducement Scheme, it received 1,000,000 shares of EFT stock
                              for virtually no consideration.
                       9
                              (M) Sourlis is the attorney hand-picked by Buckman to assist
                     10       with EFT’s SEC filings in furtherance of the EFT Enterprise’s
                              schemes. Sourlis was also used to facilitate Greenstone’s listing
                     11       on the OTC Markets. Sourlis has since been suspended from
                              appearing in front of the SEC as a result of her involvement with
                     12       another stock manipulation matter where Buckman was the
                              placement agent.
                     13
                              (N) Wagoner is an accounting firm headquartered in Salt Lake
                     14       City, Utah. It was hand-picked by Buckman to assist with
                              creating EFT’s audited financials for EFT’s reverse-merger onto
                     15       the stock market, in furtherance of the EFT Enterprise’s various
                              schemes. Wagoner has since been reprimanded by the Public
                     16       Company Accounting Oversight Board for various material
                              auditing deficiencies, including “the failure, on five audits, to
                     17       perform sufficient procedures related to reverse mergers and
                              other business combinations.”
                     18
                              (O) Wendy is Qin’s sister. Wendy is also a director of EFT
                     19       International, which pays her a salary of $300,000 per year.
                              Wendy is also the owner or director of Assets Limited, JFL,
                     20       Regal Walnut, and the 6,500 square foot Hong Kong Office
                              located at 8 Arglye Street, Suite 3706, Kowloon, Hong Kong
                     21       SAR. Directly and indirectly, Wendy has received millions of
                              dollars from her participation in the various EFT Enterprise
                     22       schemes.
                     23       (P) Assets Limited is a shell corporation located in the British
                              Virgin Islands that is owned by Wendy and affiliated with EFT.
                     24       Since at least 2007, EFT has paid Assets Limited millions of
                              dollars in royalties for the right to use the “EFT” name.
                     25
                              (Q) JFL is a shell corporation located in the British Virgin
                     26       Islands that is owned by Wendy and affiliated with EFT. It
                              receives hundreds of thousands of dollars from EFT annually for
                     27       consulting services that Wendy apparently provides outside of
                              her regular duties as director of EFT International.
                     28
HO W A RT H & S M I T H
                                                                    SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                        - 36 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 37 of 58 Page ID #:1531



                       1                  (R) The Hong Kong Office is a 6,500 square foot facility owned
                                          by Wendy and leased to EFT for hundreds of thousands of
                       2                  dollars per year.
                       3                  (S) Regal Walnut is a California limited liability company
                                          owned by Wendy in conjunction with her brother Qin. Walnut is
                       4                  a shell corporation as well as a million-dollar residence located
                                          at 1168 Regal Canyon Drive, Walnut, California 91789. In
                       5                  November of 2007, before the execution of EFT’s Stock
                                          Inducement Scheme, Walnut received 1,000,000 shares of EFT
                       6                  stock for virtually no consideration.
                       7                  (T) Excalibur is a marine shipping and transportation company
                                          located in Taiwan. It is operated by Soon, an EFT Director.
                       8
                                          (U) Meifu is a construction company that on belief is operated
                       9                  by affiliates of Qin, the EFT Directors, Buckman, or the
                                          Buckman Team.
                     10
                                          (V) CTX is a technology company operated by Curry and
                     11                   directed by Lau.
                     12                   (W) Soon, Curry, Chow, Ko, and Sluss are current or former
                                          EFT officers and directors.
                     13
                     14             117. Defendants are all employed by or associated with the EFT
                     15    Enterprise.
                     16             118. Qin, EFT, the EFT Officers and Directors, Buckman, the Buckman
                     17    Team, and others, both known and unknown, all agreed to and did conduct and
                     18    participate in the conduct of the EFT Enterprise’s affairs through a pattern of
                     19    racketeering activity and for the unlawful purpose of intentionally defrauding
                     20    Plaintiffs and others. Specifically, Defendants willfully and intentionally violated
                     21    and continue to violate numerous State and Federal laws with the goal of obtaining
                     22    money, directly and indirectly, through a pattern of racketeering activities
                     23    composed of numerous indictable offenses, including but not limited to violations
                     24    of the mail and wire fraud statutes 18 U.S.C. §§ 1341 and 1343, the National
                     25    Stolen Property Acts, 18 U.S.C. §§ 2314 and 2315, the Money Laundering Acts 18
                     26    U.S.C. §§ 1956 and 1957, and California Penal Code §§ 327, 487, 12022, and
                     27    186.1.
                     28    ///
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 37 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 38 of 58 Page ID #:1532



                       1          119. From at least 2007 and continuing until the present, and with respect
                       2   to Chow, Soon, Ko, and Sluss from at least 2010 until the present, within the
                       3   Central District of California and elsewhere, EFT, Qin, the EFT Officers and
                       4   Directors, Buckman, the Buckman Team, the Shell Companies, and others, in
                       5   association with each other, did knowingly, willfully, and unlawfully conduct and
                       6   participate, directly and indirectly, in the conduct of the affairs of the EFT
                       7   Enterprise through a pattern of racketeering activity.
                       8          120. From at least 2007 and continuing until the present, and with respect
                       9   to Chow, Soon, Ko, and Sluss from at least 2010 until the present, EFT, Qin, the
                     10    EFT Officers and Directors, Buckman, the Buckman Team, the Shell Companies,
                     11    and others, in association with each other, executed a per se scheme to defraud
                     12    through a pattern of racketeering made up of distinct and indictable acts of mail
                     13    and wire fraud under 18 U.S.C. §§ 1341 and 1343 transfers of stolen property in
                     14    violation of the National Stolen Property Acts, 18 U.S.C. §§ 2314 and 2315, and
                     15    money laundering in violation of the Money Laundering Acts, 18 U.S.C. §§ 1956
                     16    and 1957.
                     17           121. The EFT Enterprise engaged in and affected interstate and foreign
                     18    trade. The EFT Enterprise transacts business through the instrumentalities of
                     19    interstate commerce such as telephones, facsimile machines, the internet, email,
                     20    and the United States mail and interstate commercial carrier to communicate in
                     21    furtherance of the activities of the EFT Enterprise. The EFT Enterprise advertises,
                     22    markets, and sells products and services throughout the world, and manufactures
                     23    and ships products specifically from the United States. The operation of the EFT
                     24    Enterprise has continued over several years, including activities in every state, and
                     25    has affected and damaged, and continues to affect and damage, commercial
                     26    activity.
                     27           122. To further the goals of the EFT Enterprise, which include (1) earning
                     28    money through fraudulent means; (2) enticing individuals to become EFT
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 38 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 39 of 58 Page ID #:1533



                       1   affiliates; (3) enticing individuals to purchase products from EFT; (4) enticing
                       2   individuals to recruit others to become EFT affiliates and profit from those
                       3   recruits’ purchases of EFT products; (5) selling adulterated and mislabeled
                       4   products through the channels of interstate commerce; and (6) reaping large profits
                       5   for themselves based on fraud and false representations, EFT, Qin, the EFT
                       6   Officers and Directors, Buckman, the Buckman Team, the Shell Companies, and
                       7   others known and unknown engaged in various forms of illegal activity, including
                       8   but not limited to mail fraud, wire fraud, money laundering, conspiracy, the
                       9   transfer and receipt stolen property, the sale of adulterated and mislabeled goods in
                     10    violation of FDA regulations and California law, and operation of an endless chain
                     11    scheme.
                     12          123. The pattern of racketeering activity alleged is distinct from the EFT
                     13    Enterprise. Each act of racketeering activity is distinct from the EFT Enterprise in
                     14    that each is a separate offense committed by an entity or individual while the EFT
                     15    Enterprise is an association of entities and individuals. The EFT Enterprise has an
                     16    ongoing structure and organization supported by personnel and associates with
                     17    continuing functions or duties.
                     18          124. The racketeering acts set out in this Amended Complaint, and others,
                     19    all had the same pattern and similar purpose of defrauding Plaintiffs and others for
                     20    the benefit of the EFT Enterprise and its members. Each racketeering act was
                     21    related, had a similar purpose, involved the same or similar participants and
                     22    methods of commission and had similar results affecting Plaintiffs and others. The
                     23    racketeering acts of mail fraud, wire fraud, transfers of stolen property, and money
                     24    laundering were also related to each other in that they were part of the EFT
                     25    Enterprise’s goal to reap illicit and unlawful profits while fraudulently inducing
                     26    Plaintiffs and others to join the Endless Chain Scheme, purchase products, and
                     27    recruit others to join the schemes.
                     28    ///
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 39 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 40 of 58 Page ID #:1534



                       1         125. The wrongful conduct of EFT, Qin, the EFT Officers and Directors,
                       2   Buckman, the Buckman Team, the Shell Companies, and others has been and
                       3   remains part of the EFT Enterprise’s ongoing way of doing business and
                       4   constitutes a continuing threat to the property of Plaintiffs and others. Without the
                       5   repeated acts of mail fraud, wire fraud, transfers of stolen property, and money
                       6   laundering, the EFT Enterprise’s fraudulent scheme would not have succeeded.
                       7         126. In connection with promoting and executing their illegal schemes,
                       8   members of the EFT Enterprise knowingly and recklessly placed and caused to be
                       9   placed in the United States mail or by interstate commercial carrier, or took or
                     10    received from the same, matters or things to be sent to or delivered by the United
                     11    States mail or by interstate commercial carrier comprising, among other things
                     12    product, invoices, letters, promotional materials, brochures, products, and wire
                     13    transfers to Plaintiffs and others and received communications between and among
                     14    themselves through the United States mail, in the United States. It was reasonably
                     15    foreseeable that these mailings or receipts would take place in furtherance of the
                     16    fraudulent schemes.
                     17          127. In connection with promoting and executing their illegal schemes,
                     18    members of the EFT Enterprise engaged in wire fraud, in violation of 18 U.S.C. §
                     19    1343 by, among other things, knowingly and recklessly transmitting or causing to
                     20    be transmitted with wire communications, in interstate and foreign trade, materials
                     21    promoting the illegal EFT chain on internet web sites, radio, satellite radio,
                     22    television, email, facsimile, telephone, and text messages, including promotional
                     23    materials, registration information, product information, and invoices. Qin, EFT,
                     24    the EFT Officers and Directors, and others maintain websites on the internet where
                     25    EFT affiliates can and do buy products and are given inducements to continue
                     26    working as affiliates within the EFT chain. EFT maintains various websites hosting
                     27    promotional videos featuring Qin and others promoting the unlawful scheme and
                     28    other marketing materials promoting the illegal scheme. EFT sent and received
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 40 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 41 of 58 Page ID #:1535



                       1   these interstate wire communications to and from all fifty states and the District of
                       2   Columbia.
                       3         128. Each Defendant has promoted the EFT chain and EFT Enterprise.
                       4   Each use of the mail or wire by Defendants done in furtherance of the EFT endless
                       5   chain was an act of racketeering.
                       6         129. The pattern of racketeering activity through which the affairs of the
                       7   EFT Enterprise were conducted and in which Defendants participated consisted of
                       8   at least the following:
                       9                         Predicate Acts of Mail or Wire Fraud
                     10          130. Criminal mail or wire fraud involves a scheme based on an intent to
                     11    defraud and the use of the mails or wires to further that scheme. A scheme to
                     12    defraud encompasses acts of artifice or deceit which are intended to deprive an
                     13    owner of his property or money. The elements of mail and wire fraud are (1) a plan
                     14    or scheme to defraud, (2) intent to defraud, (3) reasonable foreseeability that the
                     15    mail or wires will be used, and (4) actual use of the mails or wires to further the
                     16    scheme.
                     17          131. As described in detail in the preceding allegations of this Amended
                     18    Complaint, Defendants’ Endless Chain Scheme involved numerous acts of artifice
                     19    or deceit which were intended to deprive Plaintiffs and others of their property or
                     20    money.
                     21          132. As described in detail in the preceding allegations of this Amended
                     22    Complaint, Defendants, through the EFT Enterprise, perpetrated the Endless Chain
                     23    Scheme with the intent to defraud Plaintiffs and others.
                     24          133. It was reasonably foreseeable that the mails or wires would be used to
                     25    further the Endless Chain Scheme. All of EFT’s products were shipped by mail
                     26    from within the United States. The shipment of products was a necessary
                     27    component of the Endless Chain Scheme, as without product shipments the chain
                     28    would not function. Qin, EFT, and the EFT Officers and Directors allowed for EFT
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 41 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 42 of 58 Page ID #:1536



                       1   product orders to be placed by mail and accepted such orders when received.
                       2   Where product orders were not placed by mail, orders were accepted by fax or
                       3   email and accepted payment by wire. The accepting of EFT product orders was
                       4   necessary for the execution of the endless chain scheme. EFT, Qin, the EFT
                       5   Officers and Directors, Buckman, the Buckman Team, and the Shell Companies
                       6   encouraged checks to be sent by mail or wire and accepted and received the same
                       7   by mail and wire. Accepting checks and wired funds was necessary for the Endless
                       8   Chain Scheme, since without money the Defendants could not run their schemes or
                       9   make profits. Qin, EFT, and the EFT Officers and Directors sent materials
                     10    promoting the Endless Chain Scheme by mail. EFT, Qin, the EFT Officers and
                     11    Directors, Buckman, the Buckman Team, and the Shell Companies sent and
                     12    received (and fully expected to send and receive) checks by mail and funds by wire
                     13    which were used in furtherance of the Endless Chain Scheme. And as this
                     14    Amended Complaint has previously alleged in specific detail, Qin, EFT, the EFT
                     15    Officers and Directors, Buckman, and the Buckman Team sent electronic
                     16    transmissions of promotional and often false and fraudulent information over the
                     17    internet or through the mails, in furtherance of the Endless Chain Scheme.
                     18          134. From at least early 2007, and with respect to Chow, Soon, Sluss, and
                     19    Ko from at least 2010, in California and elsewhere, Qin, the EFT Officers and
                     20    Directors, Greenstone, Buckman, the Buckman Team, the Shell Companies, and
                     21    others known and unknown, willfully and knowingly did combine, conspire, and
                     22    agree together and with each other to commit mail and wire fraud.
                     23          135. It was a part and object of the conspiracy between them that Qin, the
                     24    EFT Officers and Directors, Greenstone, Buckman, the Buckman Team, the Shell
                     25    Companies, and others known and unknown, would and did use the mails and
                     26    wires to further the Endless Chain Scheme as previously described in specific
                     27    detail in this Amended Complaint. Qin, the EFT Officers and Directors,
                     28    Greenstone, Buckman, the Buckman Team, the Shell Companies, and others
HO W A RT H & S M I T H
                                                                             SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                 - 42 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 43 of 58 Page ID #:1537



                       1   known and unknown, with the intent and purpose of furthering the Endless Chain
                       2   Scheme, did send and receive products, communications, and funds to and from
                       3   places within the U.S. by use of the mails and wires, thereby committing numerous
                       4   indictable offenses in violation of 18 U.S.C. §§ 1341 and 1343, each punishable by
                       5   imprisonment in excess of one year and constituting RICO predicate acts of
                       6   racketeering under 18 U.S.C. § 1962 et seq.
                       7         136. Examples of the mails and wires being used to further the Endless
                       8   Chain Scheme include, but are not limited to, the following:
                       9                (A) This Amended Complaint previously alleged specific
                                       details concerning investments and product purchases made by
                     10                the named Plaintiffs. As previously alleged in specific detail,
                                       each such investment and product purchase was induced by the
                     11                various fraudulent actions of one or more of the Defendants.
                                       Each such investment and product purchase required the use of
                     12                the mails or use of the wires, and each such use was foreseeable,
                                       intended, and solicited by one or more of the Defendants. Each
                     13                product order, fax, or investment order was send via mail or
                                       wire to EFT’s California office, and each such sending,
                     14                delivering, and acceptance of forms, funds, and securities
                                       furthered one or more of Defendants’ fraudulent schemes.
                     15
                                       (B) This Amended Complaint previously alleged specific
                     16                details for numerous speeches given by Qin in furtherance of
                                       Defendants’ schemes. The speeches Qin gave on April 21, 2007,
                     17                June 28, 2008, and January 9, 2009, were all recorded on DVDs.
                                       Such DVDs were distributed through the mails as well as posted
                     18                electronically on the EFT website at http://www.eftb.us.
                                       Transmissions from this website are sent worldwide from a
                     19                server located in Dallas, Texas, with a server IP address of
                                       50.23.225.63. Each and every mailing of one of these DVDs
                     20                was done in furtherance of Defendants’ aforementioned schemes
                                       and constitutes a predicate act of mail fraud. Each and every
                     21                posting of a speech online was done in furtherance of
                                       Defendants’ aforementioned schemes. Each and every download
                     22                of a speech from the http://www.eftb.us website has the
                                       foreseeable potential effect of furthering Defendants’
                     23                aforementioned schemes.
                     24                (C) This Amended Complaint previously alleged specific
                                       details for numerous false product claims given in furtherance of
                     25                Defendants’ schemes. These product claims were posted
                                       electronically on the EFT website http://www.eftb.us. in January
                     26                of 2008 and remain on the website to this day. Transmissions
                                       from this website are sent worldwide from a server located in
                     27                Dallas, Texas, with a server IP address of 50.23.225.63. Each
                                       and every posting of a false product claim online was done in
                     28                furtherance of Defendants’ aforementioned schemes and
HO W A RT H & S M I T H
                                                                             SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                 - 43 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 44 of 58 Page ID #:1538



                       1                constitutes a predicate act of wire fraud. Each and every
                                        download of a false product claim has the foreseeable potential
                       2                effect of furthering Defendants’ aforementioned schemes and
                                        constitutes a predicate act of wire fraud.
                       3
                                        (D) This Amended Complaint previously alleged specific
                       4                details concerning numerous EFT products that were falsely
                                        labeled and adulterated. Each and every order of such products
                       5                from EFT is shipped through the mails. Each one of these
                                        mailings is sent in furtherance of Defendants’ schemes. As such,
                       6                each and every one of the tens of thousands of falsely labeled
                                        and adulterated EFT products shipped by Defendants constitutes
                       7                a predicate act of mail fraud.
                       8                (E) This Amended Complaint previously alleged specific
                                        details for numerous false business claims that were posted
                       9                electronically on the EFT website at http://www.eftb.us. These
                                        false claims were given in furtherance of Defendants’ schemes.
                     10                 Transmissions from http://www.eftb.us broadcast worldwide
                                        from a server located in Dallas, Texas, with a server IP address
                     11                 of 50.23.225.63. Each and every posting of false business claims
                                        online was done in furtherance of Defendants’ aforementioned
                     12                 schemes and constitutes a predicate act of wire fraud. Each and
                                        every download of a false business claim has the foreseeable
                     13                 potential effect of furthering Defendants’ aforementioned
                                        schemes and constitutes a predicate act of wire fraud.
                     14
                     15          137. Because of the material misrepresentations made by Defendants
                     16    through the wires or delivered through the mails, Plaintiffs and others became EFT
                     17    affiliates and maintained their positions as EFT affiliates and continued to order
                     18    EFT products and recruit others to do the same, as alleged in specific detail
                     19    throughout this Amended Complaint. In reality, and as previously detailed,
                     20    Plaintiffs and others had no real hope of profiting by participating in the Endless
                     21    Chain Scheme, and were consequently defrauded out of their money by
                     22    Defendants’ material misrepresentations.
                     23          138. Qin, EFT, and various others known and unknown distributed these
                     24    material misrepresentations by interstate wire transmissions over the internet from
                     25    web servers based in the U.S., especially the server broadcasting from Dallas,
                     26    Texas, from the IP address of 50.23.225.63, using various website addresses
                     27    including, but not limited to, http://www.eftb.us, http://www.eftb.net,
                     28    http://eftbeftb.com, http://eftbt.com, http://2by2.eftb.us, http://ezgt.eftb.net,
HO W A RT H & S M I T H
                                                                                 SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 44 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 45 of 58 Page ID #:1539



                       1   http://eftk.us, http://www.efasteam.com, http://www.efasteam2000.com,
                       2   http://www.ef2t.com, and http://ddp.eftb.us. These transmissions were done with
                       3   the purpose and intent of recruiting affiliates such as Plaintiffs and others into the
                       4   EFT Enterprise’s illegal schemes. As a result, Plaintiffs and others became EFT
                       5   affiliates, maintained their positions as EFT affiliates, initiated or increased
                       6   investments in EFT securities, and continued to order EFT products and recruit
                       7   others to do the same. Each product order that Plaintiffs and others placed
                       8   necessitated the use of bank wires and the shipment of products through the U.S.
                       9   Postal Service. Each investment in EFT securities that Plaintiffs and others made
                     10    necessitated the use of bank wires or the mails. These orders and shipments were
                     11    necessary for carrying out the Endless Chain Scheme and were among the direct,
                     12    intended consequences of Defendants’ purposeful and material misrepresentations.
                     13          139. All of these claims were purposeful material misrepresentations made
                     14    to induce Plaintiffs and others to send funds into the EFT Enterprise, and Plaintiffs
                     15    and others did so because of such material misrepresentations. Qin, EFT, and
                     16    others posted misrepresentations to EFT’s website with the purpose and intent of
                     17    promoting the EFT Enterprise’s illegal scheme, and participation in the scheme
                     18    required use of bank wires and use of the U.S. Postal Service.
                     19          140. In engaging in the aforementioned wire and mail fraud, Qin, the EFT
                     20    Officers and Directors, Greenstone, Buckman, the Buckman Team, the Shell
                     21    Companies, and others known and unknown, knew that Plaintiffs and others would
                     22    reasonably rely on the various representations and omissions which would cause
                     23    the Plaintiffs and others to pay funds into the endless chain as well as purchase the
                     24    mislabeled and adulterated products.
                     25          141. Qin, the EFT Officers and Directors, Greenstone, Buckman, the
                     26    Buckman Team, the Shell Companies, and others known and unknown, knew that
                     27    the misrepresentations and omissions described above in promoting and executing
                     28    ///
HO W A RT H & S M I T H
                                                                                 SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 45 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 46 of 58 Page ID #:1540



                       1   the fraudulent scheme were material because they caused Plaintiffs and others to
                       2   join and participate in the illegal scheme.
                       3         142. Had Plaintiffs known that Qin, the EFT Officers and Directors,
                       4   Greenstone, Buckman, the Buckman Team, the Shell Companies, and others
                       5   known and unknown, were promoting illegal schemes, Plaintiffs would not have
                       6   participated in the endless chain, paid any money to any of the Defendants, placed
                       7   any orders for any EFT products, or otherwise engaged in transactions with
                       8   Defendants.
                       9         143. Each and every payment made by Plaintiffs pursuant to the Endless
                     10    Chain Scheme, whether made through the mails or through the wires, proximately
                     11    caused injury to Plaintiffs.
                     12          144. Qin, the EFT Officers and Directors, Greenstone, Buckman, the
                     13    Buckman Team, the Shell Companies, and others known and unknown, committed
                     14    thousands of predicate acts of mail and wire fraud which were a proximate cause
                     15    of the injuries that Plaintiffs suffered. Because of this pattern of unlawful conduct,
                     16    Plaintiffs and others have collectively suffered injuries in excess of $5,000,000.
                     17                     Predicate Acts of Transferring Stolen Property
                     18          145. Violations of the National Stolen Property Act occur when one
                     19    transports, transmits, transfers, or receives in interstate commerce any goods,
                     20    wares, merchandise, securities, or money worth more than $5,000 while knowing
                     21    that such were stolen, converted, or taken by fraud.
                     22          146. From at least early 2007, and with respect to Chow, Soon, Sluss, and
                     23    Ko from at least 2010, in California and elsewhere, Qin, EFT, the EFT Officers
                     24    and Directors, Greenstone, Buckman, the Buckman Team, the Shell Companies,
                     25    Wendy, and others known and unknown, willfully and knowingly did combine,
                     26    conspire, and agree together and with each other to transport, transmit, transfer,
                     27    and receive in interstate commerce money worth more than $5,000 with full
                     28    ///
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 46 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 47 of 58 Page ID #:1541



                       1   knowledge that such money was stolen or taken by fraud, in furtherance of the
                       2   Endless Chain Scheme.
                       3         147. It was a part and object of the conspiracy between them that Qin, the
                       4   EFT Officers and Directors, Greenstone, Buckman, the Buckman Team, the Shell
                       5   Companies, Wendy, and others known and unknown, would and did transport,
                       6   transmit, transfer, and receive monetary instruments, and funds from places in the
                       7   U.S. to and through places within and outside the U.S., with the intent to promote
                       8   the carrying on of the fraudulent Endless Chain Scheme, by knowingly
                       9   transporting, transmitting, transferring, and receiving money procured by the fraud
                     10    and worth more than $5,000, thereby committing numerous indictable offenses in
                     11    violation of 18 U.S.C. §§ 2314 and 2315, each punishable by imprisonment in
                     12    excess of one year and constituting RICO predicate acts of racketeering under 18
                     13    U.S.C. § 1962 et seq.
                     14          148. Qin, EFT, the EFT Officers and Directors, Greenstone, Buckman, the
                     15    Buckman Team, the Shell Companies, Wendy, and others known and unknown
                     16    conspired in various ways to further the Endless Chain Scheme by manipulation of
                     17    revenue. This was generally accomplished through variations of the same four
                     18    methods: (1) exorbitant insider consulting payments; (2) exorbitant insider rental
                     19    or royalty payments; (3) insider “loans” that were never collected; and (4) insider
                     20    “investments” that met with disaster right before beginning to pay a return. These
                     21    insider transactions were carried out to further the Endless Chain Scheme.
                     22          149. For example, as detailed below, millions of dollars have been
                     23    transferred from EFT to Wendy Qin (“Wendy”) and affiliated entities. Wendy is
                     24    Qin’s sister, a director of EFT International Ltd. (“EFT International”), and an
                     25    owner or director of EFT Assets Limited (“Assets Limited”), JFL Capital Limited
                     26    (“JFL”), Regal Walnut, and a 6,500 square foot office space located at 8 Arglye
                     27    Street, Suite 3706, Kowloon, Hong Kong SAR (“Hong Kong Office”). All of these
                     28    ///
HO W A RT H & S M I T H
                                                                              SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                  - 47 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 48 of 58 Page ID #:1542



                       1   entities have received millions of dollars in cash and/or stocks in exchange for little
                       2   to no value in return.
                       3         150. Assets Limited is a shell corporation located in the British Virgin
                       4   Islands that is owned by Wendy and affiliated with EFT. Per EFT’s SEC filings,
                       5   sometime in 2009 EFT started paying Assets Limited millions of dollars each year
                       6   for the rights to use Asset Limited’s “Washington EFT” logo. But EFT itself had
                       7   already been using the Washington EFT logo since at least 2003; Asset Limited
                       8   was thus licensing EFT the right to use its own logo. In reality, Asset Limited was
                       9   only formed and the Washington EFT logo was only trademarked for the purpose
                     10    of funneling capital out of EFT. Asset Limited did not register a trademark for the
                     11    Washington EFT logo until September 22, 2009, more than five years after EFT
                     12    started using the logo but only a few months after the Offering left EFT with
                     13    money to burn off the books. And Asset Limited “abandoned” the Washington
                     14    EFT logo as of December 03, 2012, yet still receives massive royalty payments
                     15    from EFT.
                     16          151. Between June 25, 2009, and January 15, 2014, Asset Limited received
                     17    the following $8,233,266 in royalty checks for licensing to EFT its own logo:
                     18       Approximate Check
                                Mailing Date:                       Paid To:                  Amount $USD:
                     19          06/25/2009                          Cash                      $ 2,313,137.00
                                 07/10/2009                          Cash                          600,000.00
                     20          12/15/2009                      EFT Assets Ltd                    600,000.00
                                 03/12/2010                      EFT Assets Ltd                    600,000.00
                     21          05/25/2010                          _____                         749,134.00
                                 01/19/2011                      EFT Assets Ltd                    502,566.00
                     22          02/28/2011                          _____                         529,996.00
                                 03/30/2011                      EFT Assets Ltd                    275,491.00
                     23          10/10/2012                      EFT Assets Ltd                  1,243,378.00
                                 02/05/2013                      EFT Assets Ltd                     77,739.00
                     24          03/16/2013                      EFT Assets Ltd                    293,372.00
                                 03/27/2013                      EFT Assets Ltd                     31,786.00
                     25          09/10/2013                      EFT Assets Ltd                     74,794.00
                                 12/15/2013                      EFT Assets Ltd                     32,045.00
                     26                                                                        $ 8,233,266.00
                     27          152. Similarly, JFL is a shell corporation located in the British Virgin
                     28    Islands that is owned by Wendy and affiliated with EFT. It receives hundreds of
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 48 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 49 of 58 Page ID #:1543



                       1   thousands of dollars from EFT annually for consulting services that Wendy
                       2   apparently provides outside of her regular duties as director of EFT International
                       3   (for which she already receives $300,000 annually). From October of 2010 through
                       4   March of 2014, EFT has paid $1,350,000 to JFL for the consulting services Wendy
                       5   provided to EFT. Again, Wendy is already an EFT employee that receives a
                       6   $300,000 annual salary for her services.
                       7         153. Wendy also purportedly owns a 6,500 square foot Hong Kong Office
                       8   which she leases to EFT. Per EFT’s SEC disclosures, EFT pays Wendy
                       9   approximately $375,000 per year for this space (e.g., “During the years ended
                     10    March 31, 2011, 2010, and 2009 we paid the lessor $377,892, $379,355 and
                     11    $362,271 in rental”). In reality, EFT pays Wendy almost twice as much. For
                     12    example, in 2010 alone, EFT paid Wendy $4,800,000 in Hong Kong Dollars
                     13    (“HKD”):
                     14
                                    Date:                    Check #:                Amount $HKD:
                     15             1/29/2010                917335                  $ 400,000.00
                                    2/19/2010                917344                  $ 400,000.00
                     16             3/11/2010                917354                  $ 400,000.00
                                    4/13/2010                917368                  $ 400,000.00
                     17             5/25/2010                917383                  $ 400,000.00
                                    6/21/2010                917396                  $ 400,000.00
                     18             7/19/2010                417977                  $ 400,000.00
                                    8/23/2010                417992                  $ 400,000.00
                     19             9/23/2010                418012                  $ 400,000.00
                                    10/8/2010                418029                  $ 400,000.00
                     20             11/24/2010               008452                  $ 400,000.00
                                    12/17/2010               008466                  $ 400,000.00
                     21                                                              $ 4,800,000.00
                     22          154. Since the exchange rate between United States Dollars (“USD”) and
                     23    HKD has, since May 2005, been set by law to fluctuate within the range of
                     24    USD$1:HK$7.75–7.85, this $4,800,000 HKD per year represents at least
                     25    $611,464.97 USD.
                     26          155. In October 2008, EFT purchased a 49% interest in Excalibur
                     27    International Marine Corporation (“Excalibur”) for an aggregate purchase price of
                     28    $19,193,000. EFT also subsequently loaned Excalibur over $10,000,000.
HO W A RT H & S M I T H
                                                                              SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                  - 49 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 50 of 58 Page ID #:1544



                       1   Allegedly, these loans enabled Excalibur to buy a ship called Ocean LaLa, but the
                       2   Ocean LaLa was allegedly destroyed by misuse shortly after its purchase,
                       3   rendering this asset relatively worthless. Further, apparently this ship and EFT’s
                       4   cash were Excalibur’s main assets, which calls into question the initial
                       5   ~$40,000,000 valuation for the company before it even had the ship. Additionally,
                       6   the CEO of Excalibur is Soon, one of the EFT Officers and Directors. Plaintiffs
                       7   believe Excalibur is further owned and operated by other inside parties and that its
                       8   true purpose is just to be another vehicle for furthering the Endless Chain Scheme
                       9   by misrepresenting to Plaintiffs the true value of their shares in EFT.
                     10          156. In July of 2010, EFT lent $5,000,000 to CTX Virtual Technologies,
                     11    Inc. (“CTX”). This loan was unsecured and was convertible to CTX stock at the
                     12    election of CTX. As is usual with large EFT loans, this one was never collected.
                     13    On March 12, 2011, CTX elected to convert the full $5,000,000 into CTX stock.
                     14    EFT has since written off the entire value of this stock, ultimately removing
                     15    another $5,000,000 from the EFT books. Additionally, the CEO of CTX is Curry, a
                     16    former EFT director, and one of the directors of CTX is Lau, part-owner of
                     17    Greenstone and a managing director of Buckman. Plaintiffs believe CTX is owned
                     18    or otherwise operated by inside parties and that the true purpose of this effectively
                     19    defaulted loan to CTX was to gift or otherwise siphon millions more off of EFT’s
                     20    books.
                     21          157. On May 2, 2011, Qin entered EFT into an agreement with Meifu
                     22    Development Co., Ltd. (“Meifu”) to construct a building in Taiwan for
                     23    approximately $235,000,000. As of December 31, 2013, payment of approximately
                     24    $20,800,000 has been made. EFT now alleges that Meifu has not complied with
                     25    the conditions of the agreement, and so the building project is on hold. In reality,
                     26    Plaintiffs believe Meifu is owned or operated by inside parties and that the true
                     27    purpose of these purportedly failed arrangements are just another vehicle for
                     28    ///
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 50 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 51 of 58 Page ID #:1545



                       1   furthering the Endless Chain Scheme by misrepresenting to Plaintiffs the true value
                       2   of their shares in EFT.
                       3         158. On July 25, 2008, EFT loaned $1,567,000 to Yeuh-Chi Liu (“Yeuh-
                       4   Chi”). At the time, Yeuh-Chi was a vendor to EFT. Plaintiffs believe Yeuh-Chi
                       5   may be otherwise affiliated with Qin or one of the EFT Officers and Directors. As
                       6   is usual with large EFT loans, this one was never collected. This loan was written
                       7   off on December 31, 2010, and no effort has been expended to enforce the loan or
                       8   collect on any collateral. Rather, Yeuh-Chi has since been made a director of
                       9   Excalibur. In reality, Plaintiffs believe the true purpose of the defaulted loan to
                     10    Yeuh-Chi was to gift or otherwise further the Endless Chain Scheme by
                     11    misrepresenting to Plaintiffs the true value of their shares in EFT.
                     12          159. In 2009, EFT engaged a general contractor to construct a water
                     13    manufacturing plant at a cost of approximately $755,000. EFT had planned to
                     14    begin selling water during 2012. As usual, however, things went awry right before
                     15    this investment was to start paying off. EFT alleges it began and then ceased
                     16    production because of defective construction, and that production will not be
                     17    resumed until a dispute with the contractor has resolved. Plaintiffs believe this loss
                     18    is just another means to further the Endless Chain Scheme by misrepresenting to
                     19    Plaintiffs the true value of their shares in EFT.
                     20          160. Violations include, but are not limited to, the following acts in
                     21    furtherance of the Endless Chain Scheme:
                     22                 (A) This Amended Complaint previously alleged specific
                                        details for 27 checks that went to Wendy Qin, EFT Assets
                     23                 Limited, and/or JFL Capital. Each of these checks was
                                        individually in excess of $5,000; collectively, they add up to
                     24                 millions. Wendy was an active and knowing participant in the
                                        various fraudulent schemes that were largely being orchestrated
                     25                 by her brother Qin, and she was in fact a major beneficiary of
                                        such schemes. She participated in these schemes with the
                     26                 purpose and intent of receiving money taken by fraud. As such,
                                        she accepted each of the 27 aforementioned checks fully
                     27                 knowing that they constituted money taken by fraud. Each such
                                        acceptance constitutes a predicate act of transferring stolen
                     28                 property in violation of the National Stolen Property Act.
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 51 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 52 of 58 Page ID #:1546



                       1                (B) This Amended Complaint previously alleged specific
                                        details for numerous transactions engaged in by Defendants.
                       2                Each of these transactions were in excess of $5,000;
                                        collectively, they add up to tens of millions. The participants in
                       3                these transactions were active and knowing participants in the
                                        various fraudulent schemes which provided the funds to be used
                       4                in the transactions, and indeed participated in the transactions
                                        for the purposes of receiving money taken by fraud. As such,
                       5                each transfer of money and each acceptance of money listed
                                        above was done with knowledge that the money was originally
                       6                taken by fraud and thus constitutes a predicate act of transferring
                                        stolen property in violation of the National Stolen Property Act.
                       7
                       8         161. But for Defendants’ violations of the National Stolen Property Act,
                       9   Defendants would not have been able to perpetrate or maintain the Endless Chain
                     10    Scheme, which proximately caused harm to Plaintiffs and others.
                     11          162. As a proximate and foreseeable result of the Endless Chain Scheme
                     12    enabled by violations of the National Stolen Property Act, Plaintiffs and others
                     13    have collectively suffered injuries in excess of $5,000,000.
                     14                          Predicate Acts of Money Laundering
                     15          163. Money laundering occurs when one, while knowing that the property
                     16    involved in a financial transaction represents the proceeds of some form of
                     17    unlawful activity, conducts or attempts to conduct such a financial transaction
                     18    which in fact involves the proceeds of such unlawful activity, where such is done
                     19    with the intent to promote the carrying on of the unlawful activity or with the
                     20    knowledge that the transaction is designed to conceal or disguise the nature,
                     21    location, source, ownership, or control of the proceeds of such unlawful activity or
                     22    to avoid a transaction reporting requirement under State or Federal law.
                     23          164. From at least early 2007, and with respect to Chow, Soon, Sluss, and
                     24    Ko from at least 2010, in California and elsewhere, Qin, the EFT Officers and
                     25    Directors, Greenstone, Buckman, the Buckman Team, the Shell Companies,
                     26    Wendy, and others known and unknown, willfully and knowingly did combine,
                     27    conspire, and agree together and with each other to commit money laundering in
                     28    furtherance of the Endless Chain Scheme.
HO W A RT H & S M I T H
                                                                               SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                  - 52 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 53 of 58 Page ID #:1547



                       1         165. It was a part and object of the conspiracy between them that Qin, the
                       2   EFT Officers and Directors, Greenstone, Buckman, the Buckman Team, the Shell
                       3   Companies, Wendy, and others known and unknown, would and did transport,
                       4   transmit, transfer, and receive monetary instruments and funds from places in the
                       5   U.S. to and through places within and outside the U.S. These monetary instruments
                       6   and funds represented the proceeds of Defendants’ unlawful and fraudulent
                       7   Endless Chain Scheme, and were transported, transmitted, transferred, and
                       8   received to and through places within and outside the U.S. with the intent and
                       9   purpose of promoting the carrying on of Defendants’ fraudulent Endless Chain
                     10    Scheme, and with the further intent and purpose of concealing the source,
                     11    ownership, control, and location of such monetary instruments and funds, and also
                     12    with the further intent and purpose of evading Federal and State reporting
                     13    requirements. Therefore, Qin, the EFT Officers and Directors, Greenstone,
                     14    Buckman, the Buckman Team, the Shell Companies, Wendy, and others known
                     15    and unknown, committed numerous indictable offenses in violation of 18 U.S.C.
                     16    §§ 1956 and 1957, each punishable by imprisonment in excess of one year and
                     17    constituting RICO predicate acts of racketeering under 18 U.S.C. § 1962 et seq.
                     18          166. Such violations include, but are not limited to, the following acts in
                     19    furtherance of the Endless Chain Scheme:
                     20                (A) This Amended Complaint previously alleged specific
                                       details for 27 checks that went to Wendy Qin, EFT Assets
                     21                Limited, and/or JFL Capital. Each of these fund transfers and
                                       receipts were made in furtherance of the Endless Chain Scheme
                     22                and in an effort to distribute proceeds acquired through this
                                       scheme. These fund transfers and receipts were made with the
                     23                purpose and intent of transmitting and receiving money taken by
                                       fraud. Additionally, to the extent such payments were made to
                     24                shell companies in the British Virgin Islands, such were made in
                                       an attempt to avoid Federal and State taxes as well as Federal
                     25                and State reporting requirements. As such, each transmission
                                       and each receipt of these 27 aforementioned checks constitutes a
                     26                predicate act of money laundering.
                     27                (B) This Amended Complaint previously alleged specific
                                       details for numerous other insider transactions. Each of these
                     28                fund transfers and receipts were made in furtherance of the
HO W A RT H & S M I T H
                                                                              SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                  - 53 -              DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 54 of 58 Page ID #:1548



                       1                 Endless Chain Scheme and in an effort to distribute proceeds
                                         acquired through this scheme. The participants in these
                       2                 transactions were active and knowing participants in the
                                         fraudulent schemes which provided the funds to be used in the
                       3                 transactions, and indeed participated in the transactions for the
                                         purposes of receiving money taken by fraud. Additionally, to the
                       4                 extent such payments were made to foreign entities, such were
                                         made in an attempt to avoid Federal and State taxes as well as
                       5                 Federal and State reporting requirements. As such, each transfer
                                         of money and each receipt of money listed in detail above
                       6                 constitutes a predicate act of money laundering.
                       7         167. But for these and other money laundering acts, Qin, the EFT Officers
                       8   and Directors, Greenstone, Buckman, the Buckman Team, the Shell Companies,
                       9   Wendy, and others known and unknown, would not have been able to perpetrate or
                     10    maintain the Endless Chain Scheme which proximately caused harm to Plaintiffs
                     11    and others.
                     12          168. Qin, EFT, the EFT Officers and Directors, Greenstone, Buckman, the
                     13    Buckman Team, the Shell Companies, Wendy, and others known and unknown,
                     14    had obligations under U.S. law to disclose the true nature of the aforementioned
                     15    acts of money laundering, yet failed to do so.
                     16          169. Qin, EFT, the EFT Officers and Directors, Greenstone, Buckman, the
                     17    Buckman Team, the Shell Companies, Wendy, and others known and unknown,
                     18    knew that Plaintiffs and others would reasonably rely on the legitimacy of their
                     19    transactions and would be deceived by their concealment of the true nature of their
                     20    transactions. Plaintiffs and others did in fact rely on the legitimacy of their
                     21    transactions and were deceived by their concealment of the true nature thereof.
                     22          170. As a proximate and foreseeable result of this money laundering,
                     23    Plaintiffs and others have collectively suffered injuries in excess of $5,000,000.
                     24          171. Under 18 U.S.C. § 1964(c), Plaintiffs are entitled to treble their
                     25    damages, plus interest, costs, and attorney’s fees.
                     26    ///
                     27    ///
                     28    ///
HO W A RT H & S M I T H
                                                                                 SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                    - 54 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 55 of 58 Page ID #:1549



                       1                                       COUNT IV
                       2                              (RICO 18 U.S.C. § 1962(a))
                       3                                 Against All Defendants
                       4         172. Plaintiffs repeat, reallege, and incorporate by reference the allegations
                       5   contained in the paragraphs above as if fully set forth herein.
                       6         173. The EFT Enterprise is an enterprise engaged in and whose activities
                       7   affect interstate commerce.
                       8         174. Defendants used and invested income that was derived from a pattern
                       9   of racketeering activity in an interstate enterprise. Specifically, revenue gained
                     10    from the pattern of racketeering activity as specifically alleged previously in this
                     11    Amended Complaint, and constituting a significant portion of the total income of
                     12    EFT, Qin, the EFT Officers and Directors, Greenstone, Buckman, the Buckman
                     13    Team, the Shell Companies, and others, was reinvested in the operations of the
                     14    EFT Enterprise for the following purposes: (a) to expand the operations of the EFT
                     15    Enterprise and provide additional false and misleading advertising and promotional
                     16    materials aimed at recruiting new affiliates into the Endless Chain Scheme; (b) to
                     17    facilitate the execution of the Endless Chain Scheme; and (c) to convince current
                     18    affiliates to recruit new affiliates, to purchase EFT products, and to invest in EFT.
                     19          175. As a direct and proximate result of Defendants’ racketeering activities
                     20    and violations of 18 U.S.C. § 1962(a), Plaintiffs have been injured in their business
                     21    and property. Specifically, the reinvestment of the racketeering income into the
                     22    EFT Enterprise enabled the EFT Enterprise to grow and market itself such that it
                     23    was able to induce Plaintiffs and others to invest millions of dollars of their own
                     24    money through their purchasing of EFT products and promotional materials, all of
                     25    which were packaged and shipped at inflated charges. The EFT Enterprise touted
                     26    statistics concerning membership and investment numbers in order to induce
                     27    Plaintiffs and others to buy EFT products or recruit others to buy EFT products.
                     28    But for the EFT Enterprise’s reinvestment into the EFT chain scheme, the EFT
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 55 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 56 of 58 Page ID #:1550



                       1   Enterprise would not have been able quote membership and investment rates to
                       2   induce Plaintiffs and others to invest in the EFT Enterprise.
                       3         176. As a direct and proximate result of Defendants’ racketeering activities
                       4   and violations of 18 U.S.C. § 1962(a), Plaintiffs have been injured in their business
                       5   and property. Specifically, the reinvestment of the racketeering income into the
                       6   EFT Enterprise enabled the EFT Enterprise to grow and market itself such that it
                       7   was able to induce Plaintiffs and others to invest millions of dollars of their own
                       8   money through their purchasing of EFT products and promotional materials, all of
                       9   which were packaged and shipped at inflated charges. The EFT Enterprise touted
                     10    statistics concerning membership and investment numbers in order to induce
                     11    further investments from new and existing consumers. But for the EFT
                     12    Enterprise’s reinvestment into the EFT Enterprise’s schemes and into expanded
                     13    ownership of EFT itself, the EFT Enterprise would not have been able quote
                     14    membership and investment rates to induce Plaintiffs and others into buying EFT
                     15    products, investing in EFT securities, or recruiting others to buy EFT products and
                     16    invest in EFT securities.
                     17          177. Under 18 U.S.C. § 1964(c), Plaintiffs are entitled to treble their
                     18    damages, plus interest, costs and attorney’s fees.
                     19                                         COUNT V
                     20                                (RICO 18 U.S.C. § 1962(d))
                     21                                  Against All Defendants
                     22          178. Plaintiffs repeat, reallege, and incorporate by reference the allegations
                     23    contained in the paragraphs above as if fully set forth herein.
                     24          179. As set forth above in specific detail, Defendants agreed and conspired
                     25    to violate 18 U.S.C. § 1962(a) (b) and (c). For example, Defendants and other
                     26    participants in the EFT Enterprise coordinated amongst each other to conduct or
                     27    participate in the conduct of the affairs of the EFT Enterprise and run the EFT
                     28    Enterprise’s Endless Chain Scheme; to acquire funds through the EFT Enterprise’s
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 56 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 57 of 58 Page ID #:1551



                       1   Endless Chain Scheme; to reinvest these funds into ownership of EFT stock and
                       2   various other entities; and to reinvest these funds into maintaining, growing,
                       3   operating, and marketing EFT and the EFT Enterprise.
                       4          180. As a direct and proximate result of Defendants’ violation of 18 U.S.C.
                       5   § 1962(d), Plaintiffs and others were injured by Defendants’ unlawful conduct. The
                       6   funds used to buy EFT products and used to invest in EFT constitute property of
                       7   Plaintiffs and others under 18 U.S.C. § 1964(c).
                       8          181. Under 18 U.S.C. § 1964(c), Plaintiffs are entitled to treble their
                       9   damages, plus interest, costs and attorney’s fees.
                     10         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly
                     11 situated, seek judgment against Defendants as follows:
                     12         A.      For an Order finding in favor of Plaintiffs on all counts asserted
                     13 herein;
                     14         B.      For an Order awarding compensatory, treble, and punitive damages in
                     15 amounts to be determined by the Judge or jury;
                     16         C.      For prejudgment interest on all amounts awarded;
                     17         D.      For an Order of restitution, rescission, and all other forms of equitable
                     18 monetary relief; and
                     19         E.      For an Order awarding Plaintiffs their reasonable attorneys’ fees and
                     20 expenses and costs of suit.
                     21 Dated: January 30, 2015                     HOWARTH & SMITH
                     22
                     23
                                                                    By: /s/ Suzelle M. Smith
                     24                                             Suzelle M. Smith
                                                                    Attorney for Plaintiff
                     25                                             Shuxin Li, Haiyuan Zhao,
                                                                    Yu Hu, and Hongyan Liu
                     26
                     27
                     28
HO W A RT H & S M I T H
                                                                                SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                   - 57 -               DEMAND FOR JURY TRIAL
          Case 2:13-cv-08832-DSF-CW Document 132 Filed 01/30/15 Page 58 of 58 Page ID #:1552



                       1                             JURY TRIAL DEMANDED
                       2        Plaintiffs hereby demand a trial by jury on all claims triable in this action.
                       3
                       4 Dated: January 30, 2015                   HOWARTH & SMITH
                       5
                       6
                                                                   By: /s/ Suzelle M. Smith
                       7                                           Suzelle M. Smith
                                                                   Attorney for Plaintiff
                       8                                           Shuxin Li, Haiyuan Zhao,
                                                                   Yu Hu, and Hongyan Liu
                       9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
HO W A RT H & S M I T H
                                                                              SECOND AMENDED COMPLAINT AND
  A TT ORNEYS AT LAW
     LOS A NGELE S
                                                                  - 58 -              DEMAND FOR JURY TRIAL
